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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


SL-X TRADING EUROPE LIMITED, SL-X
TECHNOLOGY UK LIMITED, SL-X TRADING
USA LLC, AND SL-X TECHNOLOGY USA LLC,

                 Plaintiffs,

     -against-                                 Case No: 19-cv-4885

BANK OF AMERICA CORPORATION; MERRILL           COMPLAINT
LYNCH, PIERCE, FENNER & SMITH
INCORPORATED; MERRILL LYNCH L.P.               JURY TRIAL DEMANDED
HOLDINGS, INC.; MERRILL LYNCH
PROFESSIONAL CLEARING CORP.; CREDIT
SUISSE AG; CREDIT SUISSE GROUP AG;
CREDIT SUISSE SECURITIES (USA) LLC;
CREDIT SUISSE FIRST BOSTON NEXT FUND,
INC.; CREDIT SUISSE PRIME SECURITIES
SERVICES (USA) LLC; THE GOLDMAN SACHS
GROUP, INC.; GOLDMAN, SACHS & CO. LLC;
GOLDMAN SACHS EXECUTION & CLEARING,
L.P.; J.P. MORGAN CHASE & CO.; J.P. MORGAN
SECURITIES LLC; J.P. MORGAN PRIME, INC.;
J.P. MORGAN STRATEGIC SECURITIES
LENDING CORP.; J.P. MORGAN CHASE BANK,
N.A.; J.P. MORGAN INSTITUTIONAL
INVESTMENTS INC.; MORGAN STANLEY;
MORGAN STANLEY CAPITAL MANAGEMENT,
LLC; MORGAN STANLEY & CO. LLC; MORGAN
STANLEY DISTRIBUTION, INC.; PRIME
DEALER SERVICES CORP.; STRATEGIC
INVESTMENTS I, INC.; UBS GROUP AG; UBS
AG; UBS AMERICAS INC.; UBS SECURITIES
LLC; UBS FINANCIAL SERVICES INC.; UBS
INVESTMENT BANK; UBS ASSET
MANAGEMENT (US) INC.; UBS FUND
SERVICES (USA) LLC; EQUILEND LLC;
EQUILEND EUROPE LIMITED; and EQUILEND
HOLDINGS LLC,

                 Defendants.
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                                         INTRODUCTION

       Plaintiffs SL-x Trading Europe Limited, SL-x Technology UK Limited, SL-x Trading

USA LLC, and SL-x Technology USA LLC (“Plaintiffs” or collectively “SL-x”) by and through

their undersigned counsel alleges as follows:

       1.       This is antitrust action under Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§

15 and 26, and Section 340 of the Donnelly Act, N.Y. Gen. Bus. Law § 340. Plaintiff SL-x is a

company that was forced out of business due to a criminal conspiracy in the “stock loan” or

“stock lending” market. SL-x brings suit to recover damages, including treble damages and

attorney’s fees, sustained as a result of this illegal collusive conduct.

       2.       SL-x was a financial technology startup, founded by individuals with significant

experience in both securities lending and online financial marketplaces. Using its patented

software, SL-x offered a fast, sophisticated system where bids and offers for stock lending

transactions could be communicated in real time, allowing market participants to compare rates

and more efficiently execute stock loans.

       3.       Defendants include some of the largest banks in the world. Acting together, they

have exerted a stranglehold over stock lending market, charging exorbitant fees to connect

borrowers and lenders and preventing either side from knowing the true “cut” that Defendants

charge as middlemen. This opaque system has permitted Defendants to extract enormous

economic rents, amounting to more than $9 billion dollars per year.

       4.       In order to thwart competition, the stock lending market employs crude and

outdated methods for executing transactions. Basic features, such as fully electronic trading,

central clearing, anonymous trading, and live data concerning pricing and availability, long

staples of numerous other financial markets, are conspicuously absent in stock lending.
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       5.       SL-x’s platform would have offered significant benefits to all participants in the

stock lending market, including to Defendants themselves. SL-x’s technology was a significant

improvement over the crude tools used by Defendants’ employees to execute stock loans and

would have allowed them to perform their duties more quickly and more effectively. By

consolidating multiple channels of communication into a single application, SL-x also

dramatically simplified record-keeping and compliance. And critically, the central clearing

offered by SL-x would have dramatically reduced the capital requirements of the stock lending

business, permitting Defendants to either expand their operations or to invest those sums in other

lucrative endeavors.

       6.       But while SL-x promised clear benefits to Defendants’ individual businesses, the

transparency it offered also posed a risk to Defendants’ collusive cabal. By permitting market

participants to more easily compare offers and see the prices at which stock lending transactions

were executed, SL-x would have exposed the exorbitant spreads charged by Defendants to their

customers and the high economic rents extracted by Defendants collectively.

       7.       Concerned about this threat to their hegemony, Defendants acted decisively and

illegally to strangle SL-x before it was able to establish itself in United States markets.

Defendants organized a group boycott to starve SL-x of the customers and liquidity that it

needed to grow. And Defendants used their enormous market power to pressure other financial

institutions not to do business with SL-x. Faced with this illegal group boycott, SL-x was forced

to close its doors and sell its valuable technology off for scrap.

       8.       Defendants’ collective conduct has only recently come to light. In August of

2017, a class action lawsuit was brought in this Court by investors who paid inflated fees to

Defendants because of the same conspiracy that doomed SL-x. That case is captioned Iowa



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Public Employees’ Retirement System et al. v. Bank of America Corporation et al., Case No. 17

Civ. 6221 (KPF).

        9.       The Amended Complaint in that action chronicles the collusive actions taken by

Defendants to protect their control of the stock lending market, and their concerted effort to drive

SL-x (and other similar companies) out of business. It also reveals that Defendants reached a

collusive agreement not to “break rank” and do business with SL-x or other trading platforms

until the “EquiLend banks” determined, collectively, whether the platform would be allowed to

survive. This collective agreement is the very definition of a group boycott and is a per se

violation of the antitrust laws.

        10.      In addition, an SL-x competitor has come forward alleging that it too was the

victim of a conspiracy by Defendants. In another action brought in this Court captioned QS

Holdco Inc. v. Bank of America Corporation, et al., Case No 18 Civ. 824 (RJS), the beneficial

owner of AQS – a competitor of SL-x – has come forward with facts concerning Defendants’

collusive and illegal efforts to put that company out of business as well.

        11.      On September 27, 2018 the Iowa Court issued a 93-page decision denying

Defendants’ motions to dismiss. The decision included the following determinations:

                    a. “[T]he Amended [class action] Complaint [“AC”] proffers several

                        allegations to support an inference of counter-profit behavior. In or about

                        August 2011, Palamon Capital Partners and SL-x jointly proposed to

                        acquire EquiLend at a price that would have yielded a profit for all parties.

                        (AC ¶ 314). The EquiLend Board refused to engage or negotiate the offer.

                        (Id.). And in late 2014 or 2015, the tables were turned: “[T]he Prime




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                         Broker Defendants directed EquiLend to purchase [SL-x and AQS] to

                         complete the elimination of them as competitors.” (emphasis added).

                     b. It is also not facially implausible that a small subset of prime brokers

                         could bring about an actionable conspiracy, because the six named Prime

                         Broker Defendants allegedly controlled between 76% and 80% of the

                         market share in the stock loan market, and used that overall clout in the

                         market to discourage others from investing in, or patronizing, AQS, SL-x,

                         and Data Explorers.

                     c. The Court agreed with the class action plaintiffs’ allegation that

                         “EquiLend’s joint venture status was a smokescreen behind which the

                         Prime Broker Defendants could operate.”

       12.       On November 1, 2018, non-party SL-x IP S.á.r.l filed a complaint against

Defendants containing substantially identical allegations to those alleged here. That complaint

has been challenged by Defendants, who claim that Plaintiffs are the parties who must assert any

claims arising from Defendants’ illegal antitrust conspiracy.

       13.       Although Defendants’ challenge is meritless, Plaintiffs bring this action in the

alternative to preserve their right to recover against Defendants should they be deemed the

proper parties to bring this action.

                                               PARTIES

Plaintiffs

       14.       Plaintiffs are all direct or indirect subsidiaries of non-party SL-x IP S.á.r.l., a

Luxemburg corporation. SL-x IP S.á.r.l. is a holding company that operated the SL-x business




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through Plaintiffs and continued their business following the dissolution of Plaintiffs. Plaintiffs

have since been restored to active status in accordance with the laws of the relevant jurisdictions.

        15.        Plaintiff SL-x Trading Europe Limited, is a United Kingdom corporation and

subsidiary of SL-x IP S.á.r.l.

        16.        Plaintiff SL-x Technology UK Limited, is a United Kingdom corporation and

subsidiary of SL-x IP S.á.r.l.

        17.        Plaintiff SL-x Technology USA LLC is a Delaware corporation and subsidiary of

SL-x IP S.á.r.l.

        18.        Plaintiff SL-x Trading USA LLC, is a Delaware corporation and subsidiary of

SL-x IP S.á.r.l.

Bank of America and Related Defendants

        19.        Defendant Bank of America Corporation (“BAC”) is a Delaware corporation with

its principal place of business in Charlotte, North Carolina.

        20.        Prior to BAC’s 2009 acquisition of Merrill Lynch & Co., BAC offered prime

brokerage services through its subsidiary Banc of America Securities LLC, a Delaware limited

liability company with its principal place of business in New York, New York. Banc of America

Securities LLC merged into Defendant Merrill Lynch, Pierce, Fenner & Smith Incorporated,

effective November 1, 2010.

        21.        On January 1, 2009, BAC acquired Merrill Lynch & Co., Inc. and its subsidiaries.

Defendant Merrill Lynch, Pierce, Fenner & Smith Incorporated (“MLPFS”) is a Delaware

corporation with its principal place of business in New York, New York. It is a wholly-owned

subsidiary of BAC. MLPFS is registered as a broker-dealer with the U.S. Securities and

Exchange Commission (“SEC”), and is a clearing Member of the Options Clearing Corporation



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(“OCC”), a U.S.-based central counterparty clearinghouse and the world’s largest derivatives

clearing organization.

       22.     Defendant Merrill Lynch Professional Clearing Corp. (“MLPCC”) is a Delaware

corporation, with its principal place of business in New York, New York. MLPCC is registered

as a broker-dealer with the SEC, and is a clearing Member of the OCC.

       23.     Defendant Merrill Lynch L.P. Holdings, Inc. (“MLLPH”) is a Delaware

corporation with its principal place of business in New York, New York. It is a subsidiary of

BAC. MLLPH is a part owner of EquiLend through Defendant EquiLend Holdings LLC.

       24.     As used herein, the term “Bank of America” includes Defendants BAC, MLPFS,

MLPCC, MLLPH, and their parents, subsidiaries, and affiliates (including Banc of America

Securities LLC). The Bank of America entities operate under common corporate control and

coordinate their business activities. During the relevant time period, Bank of America agreed

with the other Defendants to boycott SL-x and ultimately to force a sale of its assets. Bank of

America was a co-owner of EquiLend and Bank of America employees served on EquiLend’s

Board of Directors in, at least, 2012, 2013, 2014, 2015, 2016, and 2017. Bank of America

employees served on the OCC’s Board of Directors in 2008, 2009, 2010, 2011, 2012, 2013,

2014, 2015, 2016, and 2017 and on the Depository Trust Clearing Corporation’s (“DTCC”)

Board of Directors in 2009, 2010, 2011, 2012, 2013, 2014, 2015, 2016, and 2017.

       25.     Bank of America regularly transacts business in and has substantial contacts with

New York, New York. Indeed, the “Bank of America Tower,” one of the largest office buildings

on Sixth Avenue, holds a significant portion of Bank of America’s corporate offices. According

to BAC’s website, it has at least 50 financial centers or ATMs in New York, New York. BAC

also has many direct and indirect subsidiaries in New York, New York, and offered prime



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brokerage services through those subsidiaries in New York, New York, during the relevant

period. As discussed above, MLLPH, MLPCC, and MLPFS each have their principal place of

business in New York, New York.

Credit Suisse and Related Defendants

       26.     Defendant Credit Suisse Group AG (“CSG”) is a Swiss corporation with its

principal place of business in Zurich, Switzerland. Defendant Credit Suisse AG (“CS”) is a

Swiss corporation with its principal place of business in Zurich, Switzerland. It is a wholly-

owned subsidiary of CSG.

       27.     Defendant Credit Suisse Securities (USA) LLC (“CSSUS”) is a Delaware

corporation, with its principal place of business in New York, New York. CSSUS is a wholly-

owned subsidiary of CS, and thus ultimately of CSG. CSSUS is registered as a broker-dealer

with the SEC, and is a clearing Member of the OCC.

       28.     Defendant Credit Suisse Prime Securities Services (USA) LLC (“CSPSS”) is a

Delaware limited liability company with its principal place of business in New York, New York.

CSPSS is registered as a broker-dealer with the SEC.

       29.     Defendant Credit Suisse First Boston Next Fund, Inc. (“CSFBNF”) is a Delaware

corporation with its principal place of business in New York, New York. It is a wholly-owned

subsidiary of CS, and thus ultimately of CSG. CSFBNF is a part owner of EquiLend through

Defendant EquiLend Holdings LLC.

       30.     As used herein, the term “Credit Suisse” includes Defendants CSG, CS, CSSUS,

CSPSS, CSFBNF, and their parents, subsidiaries, and affiliates. The Credit Suisse entities

operate under common corporate control and coordinate their business activities. Credit Suisse

agreed with the other Defendants to boycott SL-x and ultimately to force a sale of its assets.



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During the relevant time period, Credit Suisse was a co-owner of EquiLend and Credit Suisse

employees served on EquiLend’s Board of Directors in, at least, 2012, 2013, 2014, 2015, 2016,

and 2017. In addition, CS was engaged in discussions and signed a non-disclosure agreement

with SL-x prior to Defendants’ implementation of the boycott.

       31.    Credit Suisse regularly transacts business in and has substantial contacts with

New York, New York. Indeed, Credit Suisse’s main offices in the Americas are located in a

building on Madison Avenue. CS is registered to do business in New York, has direct and

indirect subsidiaries in New York, New York, and in 2016, all 105 of CS’s U.S.-based

employees were located in New York, New York. As discussed above, CSSUS, CSPSS, and

CSFBNF each have their principal place of business in New York, New York.

Goldman Sachs and Related Defendants

       32.    Defendant the Goldman Sachs Group, Inc. (“GSG”) is a Delaware corporation

with its principal place of business in New York, New York. GSG is a direct part owner of

EquiLend through Defendant EquiLend Holdings LLC.

       33.    Defendant Goldman Sachs & Co. LLC (“GSC”) is a Delaware corporation with

its principal place of business in New York, New York. GSC is a wholly-owned subsidiary of

GSG, is registered as a broker-dealer with the SEC, and is a clearing Member of the OCC.

       34.    Defendant Goldman Sachs Execution & Clearing, L.P. (“GSEC”) is a Utah

Limited Partnership with its principal place of business in New York, New York. GSEC is or

was until recently a wholly-owned subsidiary of GSG, is registered as a broker-dealer with the

SEC and engaged in prime brokerage services in the United States before transferring its

brokerage services to GSC in 2016.




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        35.    As used herein, the term “Goldman Sachs” includes Defendants GSG, GSC,

GSEC, and their parents, subsidiaries, and affiliates. The Goldman Sachs entities operate under

common corporate control and coordinate their business activities. During the relevant time

period, Goldman Sachs, itself and through its affiliate agents, directly engaged in securities

lending transactions. Goldman Sachs agreed with the other Defendants to boycott SL-x and

ultimately to force a sale of its assets. During the relevant time period, Goldman Sachs was a co-

owner of EquiLend and Goldman Sachs employees served on EquiLend’s Board of Directors in,

at least, 2012, 2013, 2014, 2015, 2016, and 2017. Goldman Sachs employees served on the

OCC’s Board of Directors in 2008, 2009, 2010, 2011, 2012, 2013, 2014, 2015, 2016, and 2017

and on DTCC’s Board of Directors in 2009, 2010, 2011, 2012, 2013, 2014, 2015, 2016, and

2017.

        36.    Goldman Sachs regularly transacts business in and has substantial contacts with

New York, New York. The executive offices of Goldman Sachs are located in an office building

on West Street. GSG, GSC, and GSEC each have their principal place of business in New York,

New York. GSC and GSEC engaged in stock lending transactions in New York, New York

during the relevant period. In addition, GSG also engaged in stock lending transactions in New

York, New York (either directly or through affiliates and agents) during the relevant period.

JP Morgan and Related Defendants

        37.    Defendant J.P. Morgan Chase & Co. (“JPMC”) is a Delaware corporation with its

principal place of business in New York, New York.

        38.    Defendant J.P. Morgan Securities LLC (“JPMS”) (formerly known as “J.P.

Morgan Securities Inc.”) is a Delaware limited liability company with its principal place of

business in New York, New York. JPMS is registered as a broker-dealer with the SEC, and is a



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clearing Member of the OCC. JPMS is also the successor in interest to J.P. Morgan Clearing

Corp., itself a successor to Bear Stearns Securities Corp. Both J.P. Morgan Clearing Corp. and

Bear Stearns Securities Corp. were engaged in prime brokerage services in the United States and

were part owners of EquiLend through Defendant EquiLend Holdings LLC. J.P. Morgan

Clearing Corp. merged with JPMS in 2016.

       39.     Defendant J.P. Morgan Prime, Inc. (“JPMP”) is a Delaware corporation with its

principal place of business in New York, New York. JPMP is a wholly-owned subsidiary of

JPMS, and thus ultimately of JPMC. It is registered as a broker-dealer with the SEC and

provides prime brokerage services in the United States.

       40.     Defendant J.P. Morgan Institutional Investments Inc. (“JPMII”) is a Delaware

corporation with its principal place of business in New York, New York. JMPII is registered as

a broker-dealer with the SEC.

       41.     Defendant J.P. Morgan Strategic Securities Lending Corp. (“JPMSSL”) is a

Delaware corporation with its principal place of business in Wilmington, Delaware. JPMSSL is

a subsidiary of JPMC and is a part owner of EquiLend through Defendant EquiLend Holdings

LLC.

       42.     Defendant J.P. Morgan Chase Bank, N.A. (“JPMCB”), a wholly-owned

subsidiary of JPMC, is a federally chartered national banking association with its principal place

of business in New York, New York. JPMCB was formerly a part owner of EquiLend through

Defendant EquiLend Holdings LLC.

       43.     As used herein, the term “JP Morgan” includes Defendants JPMC, JPMS, JPMP,

JPMII, JPMSSL, JPMCB, and their parents, subsidiaries, and affiliates (including J.P. Morgan

Clearing Corp. and Bear Stearns Securities Corp.). The J.P. Morgan entities operate under



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common corporate control and coordinate their business activities. JP Morgan agreed with the

other Defendants to boycott SL-x and ultimately to force a sale of its assets. During the relevant

time period, JP Morgan was a co-owner of EquiLend and JP Morgan employees served on

EquiLend’s Board of Directors in, at least, 2012, 2013, 2014, 2015, 2016, and 2017. JP Morgan

employees served on the OCC’s Board of Directors in 2009 and on DTCC’s Board of Directors

in 2008, 2009, 2010, 2011, 2012, 2013, 2014, 2015, 2016, and 2017.

       44.     JP Morgan regularly transacts business in and has substantial contacts with New

York, New York. Indeed, JP Morgan’s corporate headquarters is an office building on Park

Avenue. As discussed above, JPMC, JPMS, JPMP, MPJII, and JPMCB each have their principal

place of business in New York, New York. JPMS, JPMP, and JPMII engaged in stock lending

transactions in New York during the relevant period. In addition, JPMC, JPMSSL, and JPMCB

also engaged in stock lending transactions in New York, New York (either directly or through

affiliates and agents) during the relevant period.

Morgan Stanley and Related Defendants

       45.     Defendant Morgan Stanley (“MS”) is a Delaware corporation with its principal

place of business in New York, New York.

       46.     Defendant Morgan Stanley Capital Management, LLC (“MSCM”) is a Delaware

limited liability company with its principal place of business in New York, New York. MSCM

is a wholly-owned subsidiary of MS.

       47.     Defendant Morgan Stanley & Co. LLC (“MS&C”) (formerly known as Morgan

Stanley & Co., Inc.) is a Delaware limited liability company with its principal place of business

in New York, New York. MS&C is a registered broker-dealer with the SEC and a clearing

Member of the OCC.



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       48.     Defendant Prime Dealer Services Corp. (“PDSC”) is a Delaware corporation with

its principal place of business in New York, New York. PDSC is a wholly-owned subsidiary of

MS&C, and thus ultimately of MS. It is also a registered broker-dealer with the SEC. PDSC

engages in securities borrowing and lending in support of MS&C’s prime brokerage services.

       49.     Defendant Strategic Investments I, Inc. (“SII”), a subsidiary of MS, is a Delaware

corporation, with its principal place of business in New York, New York. SSI is a part owner of

EquiLend through Defendant EquiLend Holdings LLC.

       50.     Defendant Morgan Stanley Distribution, Inc. (“MSDI”) is a Pennsylvania

corporation with its principal place of business in New York, New York. MSDI is registered

with as a broker-dealer with the SEC.

       51.     As used herein, the term “Morgan Stanley” includes Defendants MS, MSCM,

MS&C, PDSC, SII, MSDI, and their parents, subsidiaries, and affiliates. The Morgan Stanley

entities operate under common corporate control and coordinate their business activities.

Morgan Stanley agreed with the other Defendants to boycott SL-x and ultimately to force a sale

of its assets. During the relevant time period, Morgan Stanley was a co-owner of EquiLend and

Morgan Stanley employees served on EquiLend’s Board of Directors in, at least, 2012, 2013,

2014, 2015, 2016, and 2017. Morgan Stanley employees served on the OCC’s Board of

Directors in 2010, 2011, 2012, 2013, and 2014 and on DTCC’s Board of Directors in 2009,

2010, 2011, 2012, 2013, 2014, 2015, 2016, and 2017.

       52.     Morgan Stanley regularly transacts business in and has substantial contacts with

New York, New York. Indeed, Morgan Stanley’s global headquarters is located in an office

building on Broadway. As discussed above, MS, MSCM, MS&C, PDSC, SII, and MSDI each

have their principal place of business in New York, New York. MS, MS&C, PDSC, and MSDI



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engaged in stock lending transactions in New York, New York during the relevant period. In

addition, MSCM and SII also engaged in stock lending transactions in New York, New York

(either directly or through affiliates and agents) during the relevant period.

UBS and Related Defendants

        53.    Defendant UBS Group AG (“UBSG”) is a Swiss corporation with its principal

places of business in Basel and Zurich, Switzerland. Defendant UBS AG is a Swiss corporation

with its principal places of business in Basel and Zurich, Switzerland. It is a wholly-owned

subsidiary of UBSG.

        54.    Defendant UBS Americas Inc. (“UBSA”), is a Delaware corporation with its

principal place of business in Stamford, Connecticut. UBSA is a part owner of EquiLend

through Defendant EquiLend Holdings LLC.

        55.    Defendant UBS Securities LLC (“UBSS”) is a Delaware limited liability

company with its principal place of business in New York, New York. It is a subsidiary of

UBSA, and thus ultimately of UBSG. UBSS is a registered broker-dealer with the SEC and a

clearing Member of the OCC.

        56.    Defendant UBS Financial Services Inc. (“UBSFS”) is a Delaware corporation

with its principal place of business in Weehawken, New Jersey. UBSFS is a registered broker-

dealer with the SEC and a clearing Member of the OCC.

        57.    Defendant UBS Investment Bank (“UBSIB”) is an English corporation with its

principal place of business in London, England. UBSIB, a subsidiary of UBS AG, provides

prime brokerage services. It was formerly known as UBS Warburg until it changed its name in

2003.




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       58.     Defendant UBS Asset Management (US) Inc. (“UBSAM”) is a Delaware

corporation with its principal place of business in New York, New York. UBSAM is a registered

broker-dealer with the SEC.

       59.     Defendant UBS Fund Services (USA) LLC (“UBSFSU”) is a Delaware

corporation with its principal place of business in Hartford, Connecticut. UBSFSU is a

registered broker-dealer with the SEC.

       60.     As used herein, the term “UBS” includes Defendants UBSG, UBS AG, UBSA,

UBSS, UBSFS, UBSIB, UBSAM, UBSFSU, and their parents, subsidiaries, and affiliates. The

UBS entities operate under common corporate control and coordinate their business activities.

UBS agreed with the other Defendants to boycott SL-x and ultimately to force a sale of its assets.

During the relevant time period, UBS was a co-owner of EquiLend and UBS employees served

on EquiLend’s Board of Directors in, at least, 2012, 2013, 2014, 2015, 2016, and 2017. UBS

employees served on DTCC’s Board of Directors in 2009. Moreover, UBS AG and UBSIB were

engaged in discussions and signed non-disclosure agreements with SL-x prior to Defendants’

implementation of the boycott.

       61.     UBS regularly transacts business in and has substantial contacts with New York,

New York. For instance, UBS AG has a major branch office, which serves as one of its U.S.

headquarters, in New York, New York. This “flagship” office employs over 150 employees, and

derives substantial revenue for UBS, in New York, New York. UBSA, UBSS, UBSFS, and

UBSAM are each registered to do business in New York, and UBSIB maintains an office in New

York, New York. As discussed above, UBSS and UBSAM both have their principal place of

business in New York, New York. UBSS, UBSFS, UBSAM, and UBSFSU engaged in stock

lending transactions in New York, New York during the relevant period. In addition, UBSG,



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UBS AG, UBSA, and UBSIB also engaged in stock lending transactions in New York, New

York (either directly or through affiliates and agents) during the relevant period.

EquiLend and Related Defendants

       62.     Defendant EquiLend Holdings LLC is a Delaware limited liability company with

its principal place of business in New York, New York. Defendant EquiLend LLC is a Delaware

limited liability company with its principal place of business in New York, New York. It is a

subsidiary of EquiLend Holdings LLC. Defendant EquiLend Europe Limited is a private limited

company incorporated in England and Wales, with its principal place of business in London,

United Kingdom. It is a subsidiary of EquiLend Holdings LLC.

       63.     As used herein, “EquiLend” includes Defendants EquiLend Holdings LLC,

EquiLend LLC, EquiLend Europe Limited and their parents, subsidiaries, and affiliates. The

EquiLend entities operate under common corporate control and coordinate their business

activities. EquiLend is owned in part by Defendants Bank of America, Credit Suisse, Goldman

Sachs, JP Morgan, Morgan Stanley, and UBS. As explained below, EquiLend conspired with

the other Defendants to prevent the emergence of efficient electronic trading systems in stock

lending markets.

       64.     EquiLend regularly transacts business in and has substantial contacts with New

York, New York. For instance, EquiLend Europe Limited has multiple officers and directors

based in New York. As discussed above, EquiLend Holding LLC and EquiLend LLC both have

their principal place of business in New York, New York and are registered to do business in

New York.




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                                  JURISDICTION AND VENUE

        65.     The Court has subject matter jurisdiction over this suit pursuant to 28 U.S.C.

§§ 1332(a)(1) and 1337(a), as it involves claims arising under federal antitrust statutes,

specifically Section 1 of the Sherman Act, 15 U.S.C. § 1 (expressly prohibiting Defendants’

conduct) and Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15 and 26 (providing a private

right of action for those injured by violations of the antitrust laws).

        66.     The Court has supplemental jurisdiction over the claims arising from state law

pursuant to 28 U.S.C. § 1367.

        67.     The Court has jurisdiction over Defendants pursuant to the nationwide contacts

test provided for by 15 U.S.C. § 22. Most Defendants are subject to personal jurisdiction in the

United States because they were formed in or have their principal places of business in the

United States. The other Defendants are members of the conspiracy and are subject to personal

jurisdiction in the United States because the conspiracy was directed at and carried out in

substantial part in the United States. For example, Defendants directly conspired through and

with EquiLend, whose principal place of business is in New York City. They also met and

conspired at EquiLend Board of Directors meetings in New York City and elsewhere, including

at private dinners in New York City.

        68.     Defendants are also subject to personal jurisdiction because each, either directly

or through its respective agents or affiliates, transacted business throughout the United States,

including in this District, that was directly related to the claims at issue in this action.

Specifically, the stock loans at issue were regularly traded through the desks of Defendants

located in New York City. Defendants are also subject to personal jurisdiction here because their




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affiliates conducted stock lending in the United States as their agents, and if they did not, the

Defendants would have to have made those trades themselves.

       69.     Additionally, the Court has jurisdiction over all Defendants who have their

principal place of business in New York State.

       70.     The Court also has jurisdiction over Defendants pursuant to N.Y. C.P.L.R. § 302,

because Defendants transact business in New York State; Defendants had substantial contacts

with New York State; Defendants committed overt acts in furtherance of Defendants’ conspiracy

in New York State; each Defendant is an agent of the other Defendants; Defendants’ conspiracy

was directed at, and had the intended effect of, causing injury to persons residing in, located in,

or doing business in New York State; and Defendants own, use, or possess real property in New

York State.

       71.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b), (c), and (d)

because during the relevant period all Defendants resided, transacted business, were found, or

had agents in this District; a substantial part of the events or omissions giving rise to these claims

occurred in this District; and a substantial portion of the affected interstate trade and commerce

discussed herein was carried out in this District.

                                  FACTUAL ALLEGATIONS

I.     THE RELEVANT MARKET

                                 A.      Stock Lending Generally

       72.     To understand SL-x and the innovative product that it developed, it is first

necessary to know a bit about the stock loan market and how it operates.




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       73.     A stock loan is a financial transaction in which a borrower takes temporary title to

shares of stock. In exchange for receiving temporary ownership of the stock, the borrower pays

a fee and posts collateral sufficient to cover the value of the borrowed stock.

       74.     There are several common uses for stock loans. For example, stock borrowers

often take out stock loans so that they can execute a so-called “short sale.” In a short sale, an

individual borrows shares of a stock and then sells them on the market. If the stock price

subsequently declines, he or she can then repurchase the borrowed shares for a lower price and

then return them to the original owner, reaping a profit. If the price appreciates, he or she is

forced to repurchase the stock for more than it was sold for, taking a loss.

       75.     Short sales may be used to invest in the idea that a stock will decline in value. Or

they may form a single piece of a larger trading strategy, such as a convertible bond arbitrage or

an index arbitrage. In those transactions, an individual buys one side of a pair of linked

securities, such as a stock and a convertible note, or an index and its component stocks, and sells

the other short. If the two linked securities have divergent values, the individual can profit by

simultaneously buying the undervalued security and selling the overvalued one short.

       76.     In addition to the benefits to borrowers, stock loans are used by stockholders to

finance investments, provide short term liquidity, or increase the return on stock assets. For

example, a mutual fund that holds a significant stock portfolio may loan stock in exchange for

cash collateral, which it can then invest in other assets during the lending period. This increases

the flexibility and potential return on the stock investments in the portfolio.

       77.     There are also forms of tax arbitrage that rely upon stock lending. Some

jurisdictions, particularly within the European Union, have tax credits that are not available to all

investors. A dividend paying stock may be lent so that it can be sold to a tax advantaged investor



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at a price that reflects this tax savings. By doing so, stock holders may be able to receive the

economic benefit of tax savings that would not otherwise be available.

        78.     In addition to enabling trading strategies, stock loans are also used to provide

settlement coverage for entities that buy and sell the same stock – ensuring that a counterparty’s

failure to deliver stock pursuant to a trade does not lead to a chain of failed trades with other

parties. This is particularly important for market makers that provide liquidity in small

capitalization stocks, where a failure to receive a large purchase might otherwise lead to multiple

failed sales.

        79.     Stock loans are typically “open,” meaning that the loan has no specific duration.

Either party can terminate the loan, at which time the shares and collateral are returned to their

original owners, minus any fees paid.

                                 B.      The Stock Lending Market

        80.     Because stock lending enables many extremely common practices in the financial

markets, over a trillion dollars of securities are lent every year.

        81.     Yet despite the prevalence of stock loans, and their importance to the smooth

operation of the financial markets, the mechanisms by which stock loans are executed are

antiquated, having changed little in decades.

        82.     The stock loan market is an “over-the-counter” (“OTC”) market. This means that

there is no central marketplace or exchange by which borrowers and sellers can obtain pricing

data, compare offers and execute transactions directly. Instead, stock loan transactions are

generally consummated through entrenched financial intermediaries, who use their position to

extract tolls from both lenders and borrowers.

        83.     These counterparties include “Agent Lenders” and “Broker-Dealers.”



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                                       C.      Agent Lenders

       84.     Agent Lenders, sometimes called “Agent Banks” or “Custodial Lenders” act as

financial intermediaries for parties who are willing to lend stock. In many cases, Agent Lenders

are also the custodial entities that manage the underlying stock on behalf of its beneficial owner

or owners. Examples of prominent Agent Lenders include State Street, BNY Mellon, and

Northern Trust.

       85.     Stock lending by Agent Lenders is often done as part of a broader mutual fund

investment strategy. For example, Vanguard and Blackrock, two of the largest fund managers in

the world, both lend out stock in their mutual fund portfolios and return the proceeds of the

lending, minus their fees, to the funds.1 Similarly, the fees earned by pension funds for stock

lending increase the returns to the pensioners. This practice increases the returns to the fund

investors.

                                       D.      Broker-Dealers

       86.     Broker-Dealers, sometimes simply referred to as “Securities Dealers,” act as

financial intermediaries on behalf of parties who seek to borrow stock. Examples of prominent

Broker-Dealers include Defendants Bank of America, Credit Suisse, Goldman Sachs, JP

Morgan, Morgan Stanley, and UBS.

       87.     Broker-Dealers may act as market makers or may borrow pursuant to specific

instructions from their clients. When borrowing on behalf of individual clients, Broker-Dealers

quote their clients a price to borrow specific securities, but do not detail the portion of that price




   1
         See https://advisors.vanguard.com/iwe/pdf/Sec_lending.pdf (description of Vanguard
securities lending policies) and https://www.blackrock.com/investing/literature/brochure/us-
retail-securities-lending-brochure.pdf (description of Blackrock Securities Lending policies).

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that the Broker-Dealer keeps for itself. As such, Broker-Dealers are often able to charge earn

enormous profits on stock loan transactions without raising the ire of their clients.

                                 E.      Current Market Practice

        88.     With no central marketplace to connect lenders and borrowers, stock lending

transactions today are arranged through direct, bilateral communications between Agent Lenders

and Broker-Dealers. These negotiations may take place over the phone or through electronic

messaging systems such as Bloomberg. Because matching between potential lenders and

borrowers is conducted in an opaque, ad-hoc fashion, Agent Lenders and Broker-Dealers may

engage in a large amount of price comparison between potential counterparties or virtually none,

at their discretion.

        89.     While the economics of stock loan transactions are negotiated on a transaction by

transaction basis, the legal documentation underlying the agreements is highly standardized.

Each stock loan uses a Master Securities Lending Agreement (“MSLA”), which provides

uniformity across transactions and establishes the legal rights and obligations of the parties to the

transaction. The Defendants have established MSLA agreements with each of their Agent Lender

counterparts and borrower clients.

        90.     A typical transaction might proceed as follows. Assume that Hedge Fund Alpha

wishes to borrow 10,000 shares of stock in IBM. If the hedge fund wanted to buy the shares

outright, it could go to any number of online exchanges, where it could see up to the minute data

concerning the recent purchases of IBM and the bid/ask spread quoted by potential

counterparties. But because no such marketplace exists for stock borrowing, it cannot simply

place an order online to obtain a fair, market-driven price to borrow a stock.




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       91.     Instead, Hedge Fund Alpha contacts Broker-Dealer Beta. This request may be via

its electronic order management system or via telephone. Hedge Fund Alpha asks for a quote to

borrow 10,000 shares of IBM. Broker-Dealer Beta locates the stock and quotes a fee for the

transaction. The fee can take the form of an outright charge to borrow the stock. It can also take

the form of a discount on the interest paid on the collateral pledged to secure the stock. In either

case, the fee incorporates both the amount to be paid to the ultimate lender and the commissions

charged by Broker-Dealer Beta.

       92.     Hedge Fund Alpha is not told what portion of the fee to borrow is paid to each

participant nor what other Broker-Dealers would charge. Hedge Fund Alpha could call other

Broker-Dealers to compare prices, but this is difficult, as contacting multiple Broker-Dealers is

time-consuming and the prices are subject to immediate change. So the hedge fund agrees to

Broker-Dealer Beta’s fee and to transfer the necessary collateral for the loan.

       93.     Broker-Dealer Beta then looks for a counterparty to lend the stock. But while

Broker-Dealer Beta has better information than Hedge Fund Alpha, it also lacks effective tools to

efficiently execute the transaction. It cannot simply post a request for offers from multiple Agent

Lenders at once. Instead, Broker-Dealer Beta has one of two options.

       94.     Broker-Dealer Beta could look at electronic “bulletin boards” that post the stock

inventory of Agent Lenders and the prices that they will charge to lend the stock. One of these

bulletin boards is operated by EquiLend and incorporates inventory from multiple Agent

Lenders. Other Agent Lenders, such as State Street or BNY Mellon operate their own listings.

In either case, the Broker-Dealer has no ability to bid for a price. It can either accept the price

listed or go somewhere else.




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       95.      Alternatively, the Broker-Dealer could contact one or more Agent Lenders

individually, either by telephone or electronic messaging, to see whether the stock is available

and the price that the Agent Lender will accept. This is cumbersome and time consuming,

particularly for stock lending desks that must process many orders from many clients daily.

       96.      Once Broker-Dealer Beta finds an acceptable Agent Lender, say Agent Lender

Gamma, they reach agreement on the economics and execute the transaction. Broker-Dealer

Beta transfers the collateral to Agent Lender Gamma, along with the Agent Lender’s share of the

fee. Agent Lender Gamma contacts the appropriate Central Securities Depository (“CSD”) to

inform it that ownership of the stock should be transferred to Hedge Fund Alpha.

       97.      The original owner of the stock, Stockholder Delta, may not even be aware that

the transaction has taken place. The agreement between Stockholder Delta and Agent Lender

Gamma, will determine how much of the fee paid to Agent Lender Gamma, if any, is ultimately

returned to the stockholder.

II.    SL-X ‘s PRODUCT

       98.      The process described above is slow, inefficient, and labor intensive compared to

matchmaking in other financial markets. Recognizing these failings, SL-x was founded by a

group of electronic trading veterans who hoped to improve the user experience for all market

participants and bring the modern processes and workflows used by other traders to the stock

lending market. The patented software SL-x developed offered enormous advantages over

existing tools and could have revolutionized the stock lending to the benefit of all marketplace

participants.

       99.      SL-x created an online platform where Broker-Dealers and Agent Lenders could

post bids and offers for potential stock loan transactions. The platform provided for a high



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degree of both automation and flexibility. Users of SL-x could permit the system to “match”

them automatically with a counterparty that met their price and quantity criteria. Alternatively,

users could use the system to search for potential counterparties that met certain criteria and

contact one or more of them directly to negotiate terms.

       100.     The pricing data generated by transactions across SL-x was displayed to all users

in real time. For example, if an SL-x user wanted to borrow shares of General Electric or

Walmart, he or she could first look at the “ticker” to see the prices that other users had paid for

similar amounts of each stock. By displaying this real time data, SL-x provided its users with

vastly more information concerning market pricing for stock loans than was previously available,

allowing them to better price prospective loans.

       101.     The SL-x system also offered a variety of flexible communication options. In

addition to one-on-one messaging, users could create groups to facilitate multiparty

communication. For example, a Broker-Dealer that wanted to compare multiple bids could

contact several Agent Lenders simultaneously to see which one offered the best pricing terms. It

might even create different contact groups based on past dealings, reaching out to certain groups

for certain types of transactions and other groups for other transactions. Because the system

processed all communication, it made it easy to negotiate with multiple parties at the same time.

       102.     This flexibility also permitted parties to conduct transactions anonymously or

semi-anonymously. For example, an Agent Lender could solicit quotes from Broker-Dealers

without revealing its name and then, if it so chose, disclose its identity at some point later in the

negotiations.

       103.     Once the parties agreed on terms for a stock loan, SL-x’s software interfaced

directly with the backend systems for the Broker-Dealer and Agent Lender, allowing transactions



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to be executed swiftly without the need to leave the program or otherwise disrupt ongoing

workflow. This allowed users to handle more stock loan transactions vastly more efficiently

than existing systems.

        104.     SL-x’s software was also designed to streamline compliance and auditing. Every

keystroke or mouse click by an SL-x user was logged. This permitted internal compliance

departments to review every step of every transaction, including all communications with

potential counterparties. This stood in dramatic contrast to existing practice, where reviewing a

transaction might not be possible.

        105.     But beyond the raw functionality and modern user interface of SL-x’s software, it

also offered a huge economic advantage involving lending of European stock. SL-x entered into

an agreement with Eurex Clearing (“Eurex”), a central counterparty based in Germany, to

provide central clearing for stock loan transactions executed on its system that involved

companies based in France, Germany, Switzerland, Belgium, or the Netherlands.

        106.     Central clearing is a service where a company, generally called a “clearinghouse,”

“Central Counterparty” or “CCP” agrees to step in as the counterparty for otherwise failed

transactions in exchange for a small fee. It dramatically reduces counterparty risk and enables

market participants to trade without worry about the creditworthiness or integrity of other parties

to a deal.

        107.     Through its contract with SL-x, Eurex was offering to backup any transaction

executed on the SL-x platform in the five countries above. For example, if an SL-x user

borrowed the stock of France Telecom on the platform, it would know that the stock would be

delivered by Eurex even if the original lender failed to perform.




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       108.    This elimination of counterparty risk was particularly significant due to the

passage of Dodd Frank and the Basel III regulations that were in the process of being

implemented during the development of SL-x. Dodd Frank reduced or eliminated internal

“netting” of transactions from various counterparties that banks had used to claim that stock

lending transactions were risk neutral. And Basel III altered Value at Risk (“VaR”) modelling in

a fashion that increased the risk profile of stock lending and consequently the capital required to

lawfully operate a stock lending desk at a regulated bank.

       109.    But even under this new regulatory regime, centrally cleared transactions were

treated as extraordinarily low risk. As such, by providing access to central clearing, SL-x could

reduce the capital cost to a stock lending operation by up to 98%. This huge capital savings

could then be applied to other areas of a bank’s business or to expanding the stock loan

department by up to 50-fold using the same capital.

       110.    In addition to its arrangement with Eurex, SL-x entered into discussions with

several clearing providers in the United States, including The Depository Trust & Clearing

Corporation (“DTCC”) and The Options Clearing Corporation (“OCC”), to provide similar

services with respect to American stock.

III.   DEFENDANTS INITIALLY PRAISE AND THEN LATER UNDERMINE SL-X
       AND ITS PRODUCT

                                A.      SL-x and Its Sales Efforts

       111.    SL-x was founded in 2010 and the founders included several former employees of

SecFinex, a European electronic trading marketplace based in London.

       112.    SecFinex, a subsidiary of NYSE Euronext, was an online bulletin board system

where Agent Lenders could post European stock inventory and borrowing prices. It operated in

a manner similar to the bulletin board currently operated by EquiLend. However, in 2008-2009,

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SecFinex introduced central clearing to the stock loan transactions processed through its system,

relying upon LCH.Clearnet to act as the CCP.

       113.    While SecFinex was a substantial innovation over existing stock lending

practices, it still had significant limitations and the tools that it offered Brokers and Agent

Lenders to negotiate and consummate transactions were limited.

       114.    From the very beginning SL-x set out to learn from the experience of SecFinex

and create an online, centrally cleared marketplace for stock lending transactions. The founders

of SL-x drew form decades of experience in both financial technology and central counterparty

platforms. Indeed, SecFinex was one of the first companies to attempt to use technology to

streamline stock lending in Europe.

       115.    The prospect of bringing modern technology to bear on the stock lending market

attracted significant interest. In 2011, Palamon Capital Partners (“Palamon”) agreed to provide

funding to give SL-x the resources necessary create and launch its product. Experienced

software developers were hired, and work began immediately on the SL-x platform. Over the

course of the next few years, SL-x later obtained patents for groundbreaking technology

incorporated into its software.

       116.    While development was still underway, SL-x embarked on a campaign to

introduce its product to the Agent Lenders and Broker-Dealers who were expected to be among

the first customers. This effort was led by Peter Fenichel, SL-x’s Chief Executive Officers,

along with Robert Reynolds, the head of Sales, and Hank Mlynarski, SL-x’s Chief Operating

Officer. Collectively they met, often multiple times, with every major Agent Lender or Broker-

Dealer operating in the United States or Europe. In addition, as described below, SL-x met with

EquiLend concerning the prospect of a potential acquisition or joint venture.



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       117.    Because of the strength of its product, SL-x received enormous amounts of initial

interest from Defendants, more than one of which contemplated investing in the company. But

instead of working with SL-x, Defendants reached an agreement to collectively boycott SL-x so

that it could not threaten the control Defendants exercise over the stock lending industry.

       118.    The contact between SL-x and Defendants can be summarized as follows.

                                  B.      Contact with EquiLend

       119.    EquiLend is a company owned by Broker-Dealers and Agent Lenders, including

the Defendants.

       120.    EquiLend was originally created to provide post trade reconciliation and billing

services for stock loan transactions. For example, EquiLend does “contract compare” of Broker-

Dealers and Agent Lenders records with respect to individual stock loans to verify that both

parties have accurately reflected the deal reached. Where the records match, EquiLend does

billing reconciliation to ensure that the correct fees are paid between the parties.

       121.    EquiLend also operates an electronic bulletin board where Agent Lenders can

post their stock inventory together with a fixed price to borrow each stock. This bulletin board

also incorporates an “auto-borrow” tool that permits Broker-Dealers to electronically execute

stock lending transactions at the prices dictated by the Agent Lenders. However, EquiLend does

not permit “bids” and “asks” to be exchanged by prospective counterparties and does not provide

the tools necessary for potential counterparties to negotiate and execute transactions in real time.

       122.    Recognizing the limitations of EquiLend’s systems, SL-x contemplated partnering

with EquiLend to improve them. On August 1, 2011, SL-x sent a letter to Jeffery Benner, then

the Chairman of EquiLend. The letter proposed that SL-x enter into an agreement with

EquiLend to modernize and improve its platform by incorporating SL-x’s new technology.



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        123.    In conversations with Jeffery Benner and Brian Lamb, the Chief Executive

Officer of EquiLend, SL-x proposed that SL-x, with assistance from Palamon, could purchase

EquiLend outright from the banks that owned it. The banks would be guaranteed a healthy profit

from the sale and SL-x would be able to leverage the EquiLend consortium to create its modern

and efficient marketplace.

        124.    On September 21, 2011, Lamb responded to SL-x’s August 1 letter by email,

rejecting the offer.

        125.    In its rejection, EquiLend not only declined SL-x’s proposal, it rejected any

further efforts at negotiation. In essence it stated that EquiLend was not available for sale at any

price, no matter how beneficial to its shareholders.

        126.    Faced with this rejection, SL-x continued to shop its product to individual Broker-

Dealers and Agent Lenders as a potential competitor to EquiLend

                              C.      Contact with Bank of America

        127.    In July of 2014, SL-x representatives met with Bank of America employees,

including Denis Manelski, a Managing Director and Co-Head of North American Rates Trading,

Rajeev Patel, a Managing Director and Global Head of Markets Financing, and Robert

Genkinger, a Managing Director.

        128.    At the meeting, Bank of America representatives stated that the company would

conduct a “firm-wide review” of SL-x with strategic management in New York and London and

that it was interested in considering innovative solutions like SL-x.

        129.    Bank of America’s employees cautioned however, that there was an “internal

debate” about how best to access central clearing and that there were concerns about how this

would affect Bank of America’s relationship with EquiLend.



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       130.      Because of concerns that using SL-x would jeopardize Bank of America’s

relationship with EquiLend and the EquiLend board members, Bank of America never became

an SL-x customer.

                                 D.      Contact with Credit Suisse

       131.      On October 24, 2012, SL-x employees met in Zurich with Ralph Lehnis, the

Managing Director of Securities Lending for Credit Suisse, Marco Bozzolan, the Director of

Prime Services for Credit Suisse, and Carmen Beck and Lucas Brunner, each Directors of

Securities Lending Trading for Credit Suisse.

       132.      At the meeting the Credit Suisse employees expressed great interest in the SL-x

platform and stated that Credit Suisse would pursue SL-x as a CCP solution in stock lending.

       133.      On November 9, 2012, SL-x employees held another meeting in London with

Frederick Nadd-Aubert, the Global Head of Securities Lending Strategy for Credit Suisse and

Karl Bishti, Credit Suisse’s Director of Prime Services.

       134.      At the November meeting both Nadd-Aubert and Bishti expressed additional

interest in the SL-x product and, in particular, the central clearing and capital savings that it

could provide.

       135.      Nadd-Aubert, a former EquiLend board member, also expressed deep

dissatisfaction with the EquiLend product offerings and hope that SL-x’s innovative technology

could greatly improve the market.

       136.      SL-x followed up with another meeting with Nadd-Aubert in December of 2012.

Shortly thereafter, SL-x contacted Credit Suisse about holding demonstrations of SL-x’s product

and its capabilities. The Credit Suisse representatives were very open to demonstrations and

expressed interest in seeing firsthand what the product could do.



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       137.    SL-x provided demonstrations of the product and its capabilities for Credit Suisse

employees in February, March, April, and May of 2013. Nadd-Aubert and Bishti attended some

of the demonstrations, and others were attended by Justin Carey, the head of Credit Suisse’s

stock loan desk, and Bill Gilchriest, a director in the New York office. The demonstrations were

very positively received.

       138.    Indeed, at a meeting that took place on February 26, 2013, Bishti extolled the

virtues of SL-x compared to the existing market tools and noted that he often wondered if, ten

years in the future, market participants would laugh at the way that business had been conducted.

       139.    At the meeting, Bishti warned however, that EquiLend was like “the mafia run by

five crime families” and that SL-x should not underestimate it as a competitor.

       140.    These warnings grew more serious in a meeting that took place on between SL-x

employees and Bishti on July 19, 2013. At that meeting, Bishti claimed that Credit Suisse had

reversed its position and would only join after other large players – “the Big Boys” – committed

to the platform.

       141.    Bishti further warned that without approval from EquiLend, SL-x was unlikely to

be able to achieve a foothold in the industry.

       142.    In the hope that this strange reversal could be undone, in the third quarter of 2013,

SL-x employees met in New York with Paul Germain, the Managing Director and Global Head

of Prime Services for Credit Suisse. Germain was briefed about the product features of SL-x and

the enormous potential for capital savings.

       143.    Germain was very positive about the product and arranged another meeting in

early 2014 between SL-x employees and Nadd-Aubert and Carey. But despite this meeting, and

others that took place in July of 2014, Credit Suisse never moved forward with SL-x.



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       144.    Indeed, in a subsequent call with Paul Germain, Germain admitted that despite a

great deal of interest in the technology, Credit Suisse would be unable to become an SL-x

customer and would be using EquiLend for the foreseeable future, regardless of the limitations of

the product offering.

                               E.     Contact with Goldman Sachs

       145.    SL-x employees met with Brad Levy, Global Head of Goldman Sachs’ Principal

Strategic Investments Group, in the summer of 2011 to discuss the potential acquisition of

Equilend. Levy was very intrigued by the idea, stating that “this is something we should have

done 18 months ago” in anticipation of Basel III capital rules. Indeed, Levy even discussed the

possibility of a Goldman Sachs investment in SL-x.

       146.    However, others at Goldman Sachs moved quickly to kill the deal. At a

subsequent meeting between SL-x employees and William Conley, the Global Director of

Securities Lending for Goldman Sachs, Conley made it clear that Goldman Sachs was not

supportive of any alternative to EquiLend.

           147.         SL-x personnel met privately with William Conley

and others from Goldman Sachs. At the meeting, Mr. Conley was frank: If the Prime Broker

Defendants were to allow a central trading platform with counterparty clearing, it would

encourage smaller competitors, such as Jefferies, to enter the stock lending market and begin to

compete with the Prime Broker Defendants for market share. This would not be a good

development for the Prime Broker Defendants

       148.    In a subsequent communication, Levy relayed that Conley had prevailed inside of

Goldman Sachs and that use of SL-x was out of the question.




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                                  F.      Contact with JP Morgan

       149.    On November 8, 2012, SL-x employees met with Laura Allen, the Executive

Director of Equity Finance Prime Brokerage for JP Morgan, along with Tobias Mogul, JP

Morgan’s Executive Director of Prime Brokerage, and Andrew Burpitt, a Vice President of

Equity Finance Prime Brokerage for JP Morgan.

       150.    The JP Morgan employees were very receptive to SL-x’s product and described

the poor job that EquiLend did in allowing Broker-Dealers to find counterparties.

       151.    The auditability offered by SL-x was also an attractive feature for JP Morgan. At

the time, JP Morgan employees were booking stock lending transactions with essentially no audit

trail, striking deals over Bloomberg messages or telephone calls.

       152.    On March 28, 2013, SL-x employees met with Allen again, along with Rosie

Allot, a JP Morgan employee responsible for Equity Finance Prime Brokerage.

       153.    At the meeting Allen once again praised SL-x’s platform and stated that it was her

belief that all Broker-Dealers would benefit from using it. She expressed hope that Agent

Lenders would also follow suit.

       154.    On May 9, 2013, SL-x employees met with John Shellard, the Managing Director

of Trading Services for JP Morgan, along with Nick Davis, JP Morgan’s Trading Manager and

Harpreet Purwaha, a JP Morgan Product Manager.

       155.    During the meeting SL-x employees demonstrated their product and its

capabilities. Shellard was complimentary about SL-x design and functionality, comparing it

favorably to the offerings by EquiLend.

       156.    In another meeting that same month, SL-x employees spoke to Carlos Hernandez

a Managing Director and Global Head of Investor Services for JP Morgan, along with Michael



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Kelleher, the Managing Director of Prime Brokerage for JP Morgan. Kelleher was shown the

SL-x production platform and, like Shellard and Allen, was very complimentary of the

technology and what it could mean for JP Morgan’s business.

       157.    However, this favorable view changed dramatically in a subsequent meeting on

August 7, 2013. At that meeting between SL-x employees and Shellard, he stated that JP

Morgan had had “internal” discussions concerning SL-x and had decided to “monitor market

developments” and wait to see if others adopted SL-x before becoming a customer.

       158.    But while claiming that these internal discussions had dictated JP Morgan’s

strategy, Shellard did admit that “there is general agreement among [EquiLend] Directors that

industry advances should be achieved from within EquiLend” and that JP Morgan participated in

discussions with other banks about industry direction at the EquiLend meetings.

       159.    Hoping to overturn this sudden change, SL-x’s chairman, Robert DiFazio, met

with Jamie Dimon, the Chairman, CEO and President of JP Morgan. At the meeting, DiFazio

informed Dimon about the significant capital savings that the SL-x platform could offer. Dimon

was pleased by the prospect of capital savings in the stock lending business and claimed that

others at the bank would continue discussions with SL-x about becoming a customer. He

instructed SL-x to follow-up with Carlos Hernandez, JP Morgan’s Head of Prime Brokerage.

       160.    As a result of the meeting with Dimon, SL-x had further discussions with JP

Morgan about the prospect of JP Morgan joining the SL-x platform, including a very positive

meeting with Hernandez, and a meeting with Judy Polzer and B.J. Marcoullier in New York in

early 2014.

       161.    However, despite these discussions and others that followed in late 2014, JP

Morgan never became an SL-x customer.



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                             G.      Contact with Morgan Stanley

       162.    In March of 2013, an SL-x representative met with Tom Wipf, a senior Morgan

Stanley banker, and Anthony Schiavo, the head of Morgan Stanley’s stock lending desk.

       163.    At the meeting Wipf was supportive of SL-x’s product, particularly the central

clearing aspect that would permit customers to reduce capital costs. And Schiavo also stated that

if SL-x could produce an effective CCP model, Morgan Stanley would be interested.

       164.    SL-x followed up with another meeting in early 2014, this time with Schiavo and

Tejash Patel, an Executive Director at Morgan Stanley.

       165.    At the meeting, both Patel and Schaivo were enthusiastic about the SL-x product

and urged further discussions between the companies.

       166.    But despite these early positive meetings, in July of 2014, Morgan Stanley’s

position changed markedly. At two meetings with Wipf and Ed McAleer, another Morgan

Stanley Managing Director, SL-x was told that Morgan Stanley would not go forward with SL-x

and that any further development of a CCP solution would be done through EquiLend.

                                   H.      Contact with UBS

       167.    On December 4, 2012, SL-x employees met with Casey Whymark, a Managing

Director and Co-Head of Securities Lending and Financing for UBS. Also at the meeting was

Philipp Haller, an Executive Director of Trading Strategy and Development at UBS.

       168.    At the meeting the UBS representatives agreed with the premise of SL-x and the

need for a centrally cleared stock lending marketplace. They expressed a desire to see the

product that SL-x was building once it was available.

       169.    On July 9, 2013, SL-x arranged for a product demonstration for Whymark and

Haller. They were so impressed by the technology that SL-x had developed that Whymark



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expressed interest in becoming an “early partner” in SL-x and obtaining some form of “equity

participation” in the business.

       170.    On September 6, 2013, SL-x held another meeting with Whymark, and Laurent

Issner, the Chief Operating Officers of Securities Lending & Financing for UBS.

       171.    Whymark again stated that UBS was “impressed” by the SL-x platform and asked

for additional details concerning the Eurex clearing agreement. Whymark described UBS as

eager to participate once the product was launched.

       172.    However, despite this early enthusiasm, at a subsequent meeting on December 4,

2013, UBS changed its position. Whymark told SL-x representatives that UBS was not prepared

to commit to SL-x and that any agreement would need to be approved by James Buckland, the

Global Head of Securities Lending for UBS and a member of the EquiLend Board.

       173.    At an earlier meeting, that took place in London on September 26, 2013,

Buckland had explicitly discussed the benefit of being “inside the club” of EquiLend member

banks to effectuate market changes and suggested that any market transition towards an SL-x

platform and central clearing of stock loan trades would need to come from inside EquiLend.

       174.    While, SL-x continued to meet with UBS, including meetings in June and July of

2014, UBS ultimately remained unwilling to become a customer.

                    I.      Communications with Other Potential Customers

       175.    In addition to Defendants, SL-x attempted to sign up Agent Lenders and other

Broker-Dealers as customers for its platform. A similar pattern emerged. Agent Lenders were

enthusiastic about the SL-x technology and the potential capital savings that central clearing

could provide. But they were concerned about what using SL-x would mean for their

relationships with Defendants.



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       176.    For example, in an October 12, 2012 meeting with Andy Clayton, the Head of

Global Securities Lending at Northern Trust Company, a large Agent Lender, SL-x employees

were told that Northern Trust could not make any commitment to using SL-x’s service until it

understood how Goldman Sachs would react.

       177.    Similarly, Lou Maiuri, and Executive Vice President and Head of Security

Finance for State Street, another large Agent Lender, was very impressed by SL-x’s technology

and the potential capital savings it could bring to his business. But before he could consider

signing State Street up as an SL-x customer, he wanted to know what Defendants’ position was,

so as not to cross them.

       178.    SL-x also met with the Agent Lender and Broker-Dealer divisions of Deutsche

Bank. In a March 19, 2013, Deutsche Bank’s Head of Supply Trading, Kevin Soobadoo, told

SL-x executives in a March 19, 2013 meeting that the platform was “brilliant” and “impressive”

and was the “most state-of-the-art piece of kit to hit the securities lending space.”

       179.    These statements were echoed in a July 15, 2013 meeting between SL-x and Jay

Schreyer and James Aris, Deutsche Bank employees on the Agent Lender side of the business.

In the meeting SL-x was told that Deutsche Bank “will be one of your easiest clients” and that

the bank was eager to use SL-x to address “capital efficiency, balance sheet impact and

regulation pressures.”

       180.    Yet again, this early promise was strangely and suddenly extinguished. In an

October 10, 2013 meeting with Soobadoo, SL-x was told that Deutsche Bank had reversed its

position and “prefers to be a follower” with respect to evolution in the stock lending market. It

would not sign up for SL-x until its fellow banks agreed to do so.




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       181.    A similar pattern emerged in conversations with Nomura and Societe General. In

meetings, on February 28 and October 17, 2013, respectively, executives from the banks praised

the SL-x platform as “fantastic” and “really an awesome product.”

       182.    Yet despite numerous subsequent meetings and communications, neither bank

was ultimately willing to sign up as an SL-x customer.

       183.     SL-x received similar positive feedback from HSBC. SL-x met repeatedly with

HSBC’s Global Head of Equity Finance, Karl von Buren. In an October 16, 2012 meeting, Von

Buren claimed that regulatory pressures and inadequacies in HSBC’s existing capital essentially

required HSBC to embrace SL-x or something like it. Despite this, HSBC never ultimately

became a customer.

       184.    In an effort to secure customers for its platform SL-x also met with ABN AMRO,

Barclays, Blackrock, BNP Mellon, BNP Paribas, Brown Brothers Harriman, Citibank, and

Jefferies. Yet despite significant interest, multiple demonstrations and repeated praise of the

product and the potential savings that it offered, none was willing to cross Defendants by signing

up as a SL-x customer.

                          J.     Communications with Clearinghouses

       185.    In addition to discussions with potential customers, SL-x also entered into

discussions with potential providers of central clearing services for transactions executed on its

platform.

       186.    In early 2013, SL-x entered into a service agreement with Eurex to provide central

clearing for transactions involving the stock of companies located in France, Germany,

Switzerland, Belgium, or the Netherlands.




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       187.    Previously, SL-x had entered into discussions with DTCC to provide clearing

services for the stock of American companies.

       188.    The discussions with DTCC quickly stalled. SL-x was told by other market

participants that this was due to interference from Goldman Sachs. Key decision-makers at

DTCC were “in Goldman’s pocket” and would never consent to providing clearing for SL-x so

long as Goldman Sachs opposed it.

       189.    SL-x also entered into discussions with OCC to provide clearing services for the

stock of American companies.

       190.    OCC was more receptive to providing clearing, having stuck a deal with

QuadriServ to provide central clearing for AQS, a competitor of SL-x that was also attempting to

disrupt the antiquated stock lending market.

       191.    However, despite assurances from OCC that an agreement could be quickly

executed, talks stalled. Upon information and belief, it is highly likely that that defendants

interfered with discussions between SL-x and OCC and pressured OCC not to deliver on the

promised functionality and regulatory changes.

IV.    DEFENDANTS’ SECRET AGREEMENT TO UNDERMINE SL-X AND OTHER
       SIMILAR PRODUCTS

       192.    As described above, in virtually every case, Broker-Dealers and Agent Lenders

initially praised SL-x’s product and expressed significant interest in using it. But despite

repeated requests for demos and additional information, none ultimately agreed to become

customers.

       193.    As described above, SL-x employees were told by various Defendants that they

were concerned about preserving their relationship with EquiLend and that EquiLend Directors

had generally discussed a desire for industry improvements to come from within EquiLend.

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       194.    However, what SL-x did not know (and could not know) was that Defendants had

actually reached an agreement among themselves to boycott SL-x for the foreseeable future.

This agreement was reached during EquiLend meetings that were attended by representatives of

Defendants. Defendants agreed not merely that EquiLend would reject SL-x’s offer of a joint

venture or acquisition, but also that the individual EquiLend members would, collectively,

decline to do business with SL-x until such time as they all agreed to do so.

       195.    Upon information and belief, emails, records of Bloomberg chats, and other

electronic messages exchanged among EquiLend members reflecting the collusive agreement

among the Defendants exist today on the servers of EquiLend and the Defendants who were its

owners. These communications indicate that EquiLend representatives, including CEO Brian

Lamb, had been instructed not to “break rank” and not to take independent actions in the

marketplace until the “EquiLend banks” determined as a group whether they would support any

of the new platforms.

       196.    Indeed, in other electronic messages sent by Brian Lamb, he bragged that a

representative of Goldman Sachs had personally promised him that – thanks to the conspiracy –

SL-x and other potential platforms like AQS would fail and that EquiLend would continue to

dominate stock lending transactions.

       197.    Not only did Defendants boycott SL-x, they also took actions to ensure that other

EquiLend members and industry participants did so as well. On information and belief,

Defendants threatened Agent Lenders such as BNY Mellon, State Street, and Northern Trust that

doing business with SL-x (or similar products like AQS) would result in economic

consequences, such as loss of further stock loan business.




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       198.    On information and belief, Defendants also pressured DTCC and OCC not to

enter into agreements with SL-x, in the hopes of preventing SL-x from launching its platform in

the United States.

       199.    As a result of Defendants’ illegal group boycott and related acts, SL-x’s sales

efforts were doomed to fail. Even when SL-x was successful in convincing important decision-

makers at Defendants or other market participants that SL-x was a valuable technology worth

using, those employees would be overruled by more senior personnel who were aware of the

illegal boycott agreement. Members of the conspiracy would ultimately be pressured not to

“break ranks” and would either decline to move forward with the product, or delay

implementation indefinitely.

V.     SL-X IS FORCED OUT OF BUSINESS AND PURCHASED BY EQUILEND

       200.    By the summer of 2013, SL-x’s investors began to grow frustrated with the

resistance that it was facing in the market. While it had a funding commitment from Palamon,

SL-x began to look for additional investors to ensure that it had the resources to continue to

develop and market its product for a lengthy period prior to launch.

       201.    SL-x identified several potential investors, including Markit Ltd. Markit, which

has since merged with IHS Inc. to form IHS Markit, was a financial information and services

company based in London. Markit provides pricing information concerning securities, indices,

and options to thousands of financial industry customers, such as investment banks, hedge funds,

and asset managers.

       202.    Prior to discussions about investment, Markit had already struck a deal with SL-x.

SL-x’s platform contained a direct link to Markit historical trade data. And Markit was prepared

to provide its customers with interest in stock lending with links back to the SL-x platform.



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        203.    When approached, Markit was initially very interested in investing in the SL-x

platform, an investment that would have permitted SL-x to continue development and marketing

efforts for the foreseeable future.

        204.    However, in early 2014, Markit suddenly and unexpectedly withdrew from

investment discussions.

        205.    On information and belief, another entity, GFI Group, was also pressured by

Defendants not to invest in SL-x, in the hopes that SL-x would ultimately be forced out of

business.

        206.    After the Markit deal fell through, SL-x engaged an investment bank, Wells Fargo

to prepare additional marketing materials and to search for a potential buyer. However, Wells

Fargo was unsuccessful in locating anyone willing to risk the ire of Defendants by investing in

SL-x.

        207.    In 2015, Defendants negotiated with SL-x’s principal shareholder, Palamon, to

purchase the patents held by SL-x. As described above, these patents applied to the core

innovations in SL-x’s product, including matching and progressive reveal of identity in

counterparty negotiations.

        208.    While SL-x was gone, Defendants did not want a third party, such as AQS, to

purchase this technology and engineer a potential competitor to EquiLend.

        209.    Accordingly, in early 2015, EquiLend purchased SL-x’s intellectual property for

approximately £500,000.

        210.    Despite buying the technology, EquiLend had no intention of actually using it.

What little due diligence was done on the transaction took place in a thirty-minute call on May

21, 2015, which was only a discussion about the infrastructure needed once EquiLend received



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the code. EquiLend has never even attempted to use SL-x’s technology in any of its products.

Instead, it has put the patents on the shelf, knowing that no others will use them.

VI.    DEFENDANTS’ CONSPIRACY CAUSED ANTICOMPETITIVE HARM

       211.    As a result of their conspiracy, Defendants continue to dominate the stock loan

market, collectively controlling over 70% of the stock loan brokerage market and taking for

themselves more than 65% of the multi-billion-dollars per year in gross revenue generated by

stock lending activity.

       212.    As detailed above, Defendants have maintained their dominant market position

and outsize profits by collectively boycotting and suppressing any platforms or services that

might lift the veil of opacity or lead to a fully electronic and transparent trading environment.

The result of the Defendants’ anticompetitive actions has been to keep the stock loan market and

each of its participants in the Stone Age.

       213.    Stock lending persists in an inefficient, antiquated OTC structure that depends on

the central position of the Defendants.

       214.    OTC market structures may make sense where there is customization of terms and

no standard contract. However, stock loans can be standardized contracts that are well-suited for

a transparent market structure such as a trading platform or an exchange. By preventing the

development of such platforms or exchanges, Defendants have directly imposed significant

financial harm on other market participants.

       215.    In the current bilateral OTC market, trade negotiation remains one-on-one,

placing both borrowers and lenders at a substantial bargaining disadvantage vis-à-vis the

Defendants. These market end-users lack the information that the Broker-Dealers possess about

pricing (i.e., what the other side of the transaction is willing to pay/accept) and



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volume/availability (i.e., which counterparties own the desired stock and how much is available

to trade) for any specific loan in question. Borrowers and lenders also lack any mechanism to

effectively “price shop” or efficiently compare dealer pricing and terms over many dealers.

When offered terms by a dealer, there is no way for the lender or borrower to be confident that

the dealer’s quote is at or near the best available quote in the market, nor to know which other

dealer might be willing to supply more favorable terms and pricing.

       216.    Because Defendants have inserted and collusively maintained themselves as

middlemen, lenders and borrowers cannot work to obtain better terms and pricing by trading

directly with the corresponding party that has the actual motive to transact. Nor can a lender or

borrower realistically force multiple dealers to compete against each other for a transaction

because of the bilateral nature of the bargaining process.

       217.    The current stock loan market involves high search costs and inefficient pricing.

It can take numerous phone calls, emails, texts, or other communications over several hours to

locate a hot stock and negotiate pricing. The lender has no indicative level of pricing other than

the demand information provided by the brokers, which the lender has no way to verify. In other

words, the securities lending market requires considerable manual effort to complete transactions

that in other markets take seconds or minutes at most. Because of the fragmented nature of the

market, identical loans can trade simultaneously through different channels at very different

prices. These high search costs preclude arbitrage across liquidity pools.

       218.    While a lender or borrower can, in theory, reject the price terms quoted by the

dealer with whom it is negotiating and search for better terms, these negotiations would be

cumbersome and difficult to do. The market participants cannot choose the best terms from

among a large number of various dealers simultaneously. And the fact that a lender or borrower



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could eventually negotiate quotes from multiple dealers does not in itself cause dealers to

compete aggressively with each other.

       219.    When facing a lender or borrower, each dealer holds a degree of monopoly power

because the counterparty has no ability to pick the best of many simultaneously executable

terms. Defendants’ exploitation of this monopolistic market power both (i) reduces the volume

of trades that would otherwise occur in the stock lending market, and (ii) raises the costs

associated with searching for desirable transaction terms (i.e., reduces what is known as

“matching efficiency”).

       220.    Separate and apart from the harms caused to ordinary market participants, SL-x

also suffered significant harm due to the destruction of its business.

       221.    Because of Defendants’ conduct, SL-x was forced to close its doors and sell off

its intellectual property for a fraction of the true value of the company.

VII.   OTHER FACTS DEMONSTRATE THE PLAUSIBILITY OF DEFENDANTS’
       CONSPIRACY

       222.    In addition to the specific conduct alleged above, numerous other facts

demonstrate the inherent plausibility of the stock loan conspiracy alleged herein.

       223.    As detailed below, the (i) lack of evaluation in the Stock Loan Market, which has

resisted electronic trading to a degree not seen elsewhere; (ii) the actions of Defendants against

companies other than SL-x; and (iii) Defendants’ history of criminal behavior, specifically

market manipulation and the formation of illegal antitrust conspiracies all lend credence to the

conspiracy against SL-x.

                   A.      The Antiquated Structure of the Stock Loan Market

       224.    Financial markets typically evolve over time. Many financial markets have

evolved from an inefficient and high-transaction-cost OTC market to an exchange where

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participants can meet and transact. Although the stock loan market has made other markets more

efficient, it has not itself grown more significantly efficient over time. The stock loan market

today remains almost exclusively an opaque, OTC market that has not been meaningfully

improved, or scarcely even been touched, by more modern, transparent trading methods.

       225.    There is no natural reason for the stock loan market to continue to operate this

way. There are no technological or structural reasons that this market could not be transformed

into a modernized electronic marketplace, as has happened with a number of other financial

services markets. The quintessential example of a modern centrally-cleared electronic trading

platform is the publicly-traded stock exchange. Stocks (or equities) are almost entirely traded on

technology-driven electronic exchange platforms, which afford participants instantaneous

information on trading flow, pricing and volume. These exchanges also provide a marketplace

through which buyers and sellers can directly transact via clearing brokers (such as Charles

Schwab, or any other broker with a membership on the relevant exchange) who provide access to

and “sponsorship” on the exchange for a minimal and transparent fee. This allows sellers of

securities to offer shares to the entire market and take the highest price, and buyers of securities

to make an offer to the entire market and take the lowest price, via a central limit order book.

But this is Defendants’ nightmare for the stock loan market.

       226.    Electronic trading is unquestionably beneficial to market participants. It provides

greater price and volume transparency on market trades, expands the number and type of

potential counterparties, and does not involve a fee-extracting “middleman” or intermediary

between the buyer and seller. Consequently, such trading results in greater efficiency and

significantly better prices for both sides. This method of trading is the norm for the securities of

most publicly traded companies.



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       227.    The efficiencies created by electronic trading would reduce the cost of portfolio

management strategies for investors, increase the number of borrowers, reduce the cost of

borrowing, and stimulate more stock loan trading and investment. It would also increase the

returns that lenders earn on their portfolios. All of this would further lower the cost for

companies to raise capital in the equity markets.

       228.    But the stock loan market has none of this. It is devoid of a central marketplace

where buyers and sellers can transact or view pricing and volume information across the entire

market. As a result, borrowers today complain that the Defendants’ “middleman” pricing is

volatile and opaque. Lenders suffer from this same price opacity, and further complain that they

cannot lend out more than a small fraction of their available stock as transactions are

bottlenecked with the Defendants. The inability of borrowers and lenders to find and transact

with each other results in a massive waste of economic resources, yielding artificially higher

costs of investment and lower returns on investment. All market participants would benefit from

a more modern and efficient stock loan market. That is, all participants except Defendants.

       229.    A direct effect of the outdated OTC market structure is that Defendants are able to

exploit the inefficiencies to reap inflated profits at the expense of borrowers and lenders.

Bringing lenders and borrowers together in a regulated, centralized trading platform would lower

the cost of borrowing and increase the returns on lending. In that trading environment, investors

can trade anonymously in real time on electronic platforms, with live, executable pricing and

with any qualified trading partner.

       230.    On the New York Stock Exchange or NASDAQ, for example, buyers and sellers

(via the electronic platform) make offers to “all” potential counterparties simultaneously—with

the platform system matching trades primarily based on price. The seller gets the highest price



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offered and the buyer gets the lowest price available. It is only a function of the Defendants’

illegal, collusive and monopolistic practices that the modern stock loan market does not operate

in this manner.

              B.        Defendants’ Actions Against Other Modernizing Companies

       231.       Recent litigation shows that SL-x was not the only company that Defendants

forced out of the marketplace in service of their stock loan conspiracy.

                                             i.        AQS

       232.       In a case captioned, QS Holdco Inc. v. Bank of America Corporation, et al., Case

No 18 Civ. 824 (KPF), the beneficial owner of AQS details a litany of anticompetitive conduct

by Defendants to boycott, cripple, and ultimately acquire AQS, an early competitor of SL-x.

       233.       Like SL-x, AQS was born out of a desire to provide an online marketplace for

stock lending transactions, complete with modern tools designed to streamline negotiations and

permit bids and asks by counterparties seeking a potential deal.

       234.       Like SL-x, AQS entered into an agreement with a clearinghouse to provide

central clearing of transactions. Where SL-x entered into an arrangement to clear certain

European transactions through Eurex, AQS also entered into a contract with OCC to clear

transactions involving US stock.

       235.       On information and belief, the contract with OCC was only possible because

Wayne Luthringshausen, the Chief Executive Officer of OCC, intentionally removed the OCC

board members (including Defendants) from the majority of negotiations and scheduled specific

board votes for times when he knew that the most vociferous supporters of Defendants’

conspiracy would not be able to attend.




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       236.    AQS launched on January 7, 2009, with central clearing from OCC. By late

2009, AQS announced that he had also reached an agreement with Eurex to provide central

clearing of European stock loan transactions.

       237.    Unlike SL-x, which provided a set of tools by which Broker-Dealers and Agent

Lenders could efficiently match, negotiate, and consummate stock lending transactions on behalf

of clients, AQS was a direct, all-to-all platform for stock loan transactions. As such, AQS sought

to disintermediate Broker-Dealers and Agent Lenders entirely.

       238.    Because of the threat that this posed to Defendants and their domination of the

stock loan market, they took immediate action to prevent AQS from succeeding.

       239.    On information and belief, Goldman Sachs communicated to AQS that it would

not support the platform under any circumstances.

       240.    On information and belief, Defendants Morgan Stanley, JP Morgan, Credit

Suisse, and UBS each communicated, in separate meetings with AQS executives, an identical

position concerning AQS: that the only way they would support the platform was if AQS made it

a broker-only platform, uniformly conditioning their participation on lenders and borrowers

being barred from trading on the platform.

       241.    On information and belief Defendants Goldman Sachs, Morgan Stanley, J.P.

Morgan, Credit Suisse, and UBS also refused to give their customers access to AQS. Stock loan

market standards require that a broker-dealer (acting as a “qualified borrower”) be the legal

borrowing entity in every stock loan transaction, and OCC’s amended by-laws provided that only

broker-dealer “clearing members,” such as Defendants, may transact through the clearing house,

either as the lender or borrower. Accordingly, for borrowers and agent lenders to have access to




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trade on the AQS platform through OCC, they needed to be “sponsored” by, and granted access

through, a broker-dealer, who would stand in to facilitate and clear their trades.

       242.    On information and belief, Defendants Goldman Sachs, Morgan Stanley, J.P.

Morgan, Credit Suisse, and UBS’ point blank denial of access for their clients to AQS meant that

their clients simply could not trade on the platform, starving AQS of potential customers.

       243.    On information and belief, Bank of America, through its acquisition of Merrill

Lynch, was initially supportive of the AQS platform and permitted its customers to access its

central clearing benefits by acting as a sponsor.

       244.    On information and belief, William Conley, acting on behalf of Goldman Sachs

and the other Defendants, pressured Bank of America to reverse course and to join the other

Defendants in its opposition to AQS.

       245.    On information and belief, a Bank of America executive told a Quadriserv

executive that Quadriserv needed to win over Goldman Sachs in order for AQS to grow.

       246.    On information and belief, Bank of America responded to pressure from other

Defendants by ordering its stock loan desk to limit the volume of transactions that could be

placed on the AQS platform. Going forward, the desk could put on only $1 billion of notional

loans each day, a tiny fraction of Bank of America’s normal daily volume.

       247.    On information and belief, Defendants also pressured other market participants

not to use AQS’s software.

       248.    On information and belief, in 2012, Goldman Sachs told executives at BNY

Mellon, including James Slater, Head of Global Collateral Management and Securities Finance,

that if BNY Mellon continued to use the AQS platform, Goldman Sachs would return open stock




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borrowing trades with BNY and stop trading with the BNY Mellon stock loan desk altogether.

Faced with this threat, BNY Mellon withdrew its support for AQS.

       249.    On information and belief, Defendant Goldman Sachs met regularly with State

Street to discuss AQS and Goldman Sachs pressured State Street not to support the platform.

       250.    On information and belief Defendants also successfully pressured senior

management of Barclays Global Investors to pull out at the last minute as an investor in the

Quadriserv Series C and D financing rounds.

       251.    On information and belief, Defendants used their influence over the OCC board to

sabotage the planned acquisition of AQS by OCC in 2015.

       252.    On August 1, 2016, EquiLend purchased the assets of AQS, which had been

effectively forced out of business. On information and belief, EquiLend has made absolutely no

use of those assets and purchased them only so that they could not be put to productive use by

any other company.

                                     ii.     Data Explorers

       253.    Unlike SL-x and AQS, Data Explorers was an information services company.

Rather than create an online marketplace for stock lending transactions, Data Explorers sought to

sell information to market participants, gathering complete stock loan transaction data from its

customers and providing lenders, borrowers, and broker-dealers with access to the aggregated

dataset.

       254.    But this different focus did not shield Data Explorers from Defendants’ collusive

behavior. On information and belief, knowing that pricing transparency could undermine their

stranglehold on the stock lending market, Defendants employed the same anticompetitive tactics

against Data Explorers that they did against SL-x and AQS.



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       255.     Data Explorers’s first customers were Agent Lenders. Data Explorers gathered

stock lending transaction data from Agent Lenders, aggregated it, and disclosed the aggregated

information back to its customers. This permitted the participating Agent Lenders to see how

well their prices they had received compared to those that others had received.

       256.     This data was provided in several forms. Data Explorers first developed a product

called Performance Explorer, which allowed Agent Lenders to type in a ticker symbol to see the

average lending rate for that security, based on the underlying data that was provided by

participating agent lenders. Performance Explorer was followed by Transaction Explorer, a

more advanced technology that gave Agent Lenders access to a deep array of “wholesale” data

that Data Explorers had compiled from banks and other agent lenders.

       257.     Ultimately, Data Explorers expanded beyond the Agent Lender side of the stock

loan market. Data Explorers created a separate version of Transaction Explorer designed

specifically for borrower clients. This version of Transaction Explorer enabled borrowers to

access “bid rates” (what borrowers were paying to borrow securities), along with analytics

showing how liquid or illiquid a given security was, how heavily borrowed or “short” a security

was, and how many buy-side players were borrowing a security.

       258.     On information and belief, Defendants pressured Data Explorers to keep the data

that it was obtaining from Agent Lenders separate from the data that it was obtaining from its

borrower clients. Defendants did not want Data Explorers to provide market participants with

comprehensive information concerning the prices and fees charged in connection with stock loan

transactions.




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           259.   With assurances that the data would remain “siloed” between borrowers and

lenders, Data Explorers secured access to several of Defendants’ pricing data in return for

providing them with data analytics.

           260.   However, on information and belief, Defendants took surreptitious steps to

undermine the quality of the market data that Data Explorers provided to its customers. For

example, when borrower clients instructed Morgan Stanley to provide Data Explorers with their

market data, Morgan Stanley would provide a file that contained stale, sparsely populated data

scrubbed clean of any timely or actionable information.

           261.   On information and belief, even with these restrictions, Defendants were

concerned that Data Explorers might begin offering “whole market” pricing information that

aggregated data from both lenders and borrowers in stock loan transactions. This information

would reveal the outsized fees that Defendants took for themselves and their supracompetitive

profits.

           262.   On information and belief, in 2011, Defendants met, under the auspices of

discussing EquiLend business, to discuss the threat posed by Data Explorers and how to

neutralize that threat.

           263.   On information and belief, Defendants agreed to set up a competing business,

under the auspices of EquiLend, that would seek to drive Data Explorers out of the market. This

new business, called DataLend, would be offered without substantial charge, undercutting Data

Explorers’s business model.

           264.   On information and belief, DataLend was specifically constructed to ensure that

beneficial owners could never see the spread between what they were paid to lend securities and

what borrowers were charged to borrow them.



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       265.    Defendants formed DataLend as a division within EquiLend. On information and

belief, they then agreed, in lockstep, to distribution agreements with DataLend that placed

substantially identical restrictions on how each Defendant’s trading data could be used. These

agreements included a prohibition on disclosing any prime broker data to lender or borrower

customers. Among other things, the Defendants agreed amongst themselves, and then with

DataLend, that they would not permit bid-side data (that is, data showing what borrowers paid to

borrow securities) to be provided to any beneficial owners.

       266.    On information and belief, Conley from Goldman Sachs, Kelleher from JP

Morgan, and other representatives of Defendants on the board of EquiLend were involved in the

discussions that led to these parallel agreements.

       267.    EquiLend’s plan worked. Agent Lenders used the new stream of low-cost

information provided by DataLend to renegotiate prices with Data Explorers. Data Explorers’

revenues plummeted and its momentum came to a dead stop.

       268.    Crippled by the assault from DataLend, Data Explorers forced to sell itself to

Markit, a company over which Defendants exert significant influence. Knowing the

consequences of competing against Defendants, Markit has never threatened to provide “whole

market” stock lending pricing data using the technology purchased from Data Explorers.

                            C.     Defendants’ Prior Illegal Conduct

       269.    The stock loan conspiracy is but the latest in a string of anticompetitive

conspiracies involving the financial markets in which the Defendants have participated—all with

the goal, as here, of preserving an existing anticompetitive advantage against the natural tide of

progress. As detailed below, Defendants’ blatant disregard for the antitrust laws over the last

decade has been exposed in numerous instances in relation to other financial markets. In several



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instances, certain of the Defendants have pled guilty to the anticompetitive conduct. In other

instances, certain of the Defendants have been fined for, or settled claims relating to, alleged

anticompetitive conduct. These admissions not only demonstrate a pattern of repeated conduct,

but demonstrate more generally the existence of a corporate culture wherein Defendants are

ready and willing to violate the law and collude with one another whenever they deem it

necessary to preserve profits. This history and culture of collusion demonstrates the inherent

plausibility of the stock loan conspiracy alleged herein.

                           i.      Municipal Bond Investments Market

       270.    In or around 2010, Defendant Bank of America approached the United States

Department of Justice (“DOJ”) and voluntarily reported its involvement in a conspiracy to rig

bids in the municipal bond derivatives industry.2 Later, on December 7, 2010, the DOJ

announced that Bank of America agreed to pay $137.3 million in restitution to federal and state

agencies in connection with its admitted participation in that conspiracy.3 The restitution

payment, along with Bank of America’s cooperation in the DOJ’s parallel investigations of Bank

of America’s co-conspirators, was a condition for Bank of America’s admission into the DOJ’s

Antitrust Corporate Leniency Program.4

       271.    On May 4, 2011, the DOJ announced that Defendant UBS AG, as part of a non-

prosecution agreement, agreed to pay $160 million in restitution, penalties, and disgorgement to


   2
       See Press Release, DOJ, Bank of America Agrees to Pay $137.3 Million in Restitution to
Federal and State Agencies as a Condition of the Justice Department’s Antitrust Corporate
Leniency Program (Dec. 7, 2010), https://www.justice.gov/opa/pr/bank-america-agrees-pay-
1373-million-restitution-federal-and-state-agencies-condition-justice.
   3
       Id.
   4
       Id.



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federal and state agencies in connection with admitted anticompetitive conduct in the municipal

bond investments market.5 As part of its non-prosecution agreement, UBS AG admitted that

certain of its then-employees “entered into unlawful agreements to manipulate the bidding

process and rig bids on certain relevant municipal contracts, and made payments and engaged in

other activities in connection with those agreements, in violation of Section 1 of the Sherman

Act, 15 U.S.C. § 1, and certain sections of Title 18 of the United States Code.”6

       272.    On July 7, 2011, the DOJ announced that Defendant J.P. Morgan Chase & Co., as

part of a non-prosecution agreement, agreed to pay $228 million in restitution, penalties, and

disgorgement to federal and state agencies in connection with anticompetitive conduct in the

same market—i.e., the municipal bond investments market.7 As part of its non-prosecution

agreement, J.P. Morgan Chase & Co. admitted that certain of its then-employees “entered into

unlawful agreements to manipulate the bidding process and rig bids on certain relevant

municipal contracts, and made payments and engaged in other activities in connection with those

agreements, in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1, and certain sections of

Title 18 of the United States Code.”8




   5
       See Press Release, DOJ, UBS AG Admits to Anticompetitive Conduct by Former
Employees in the Municipal Bond Investments Market and Agrees to Pay $160 Million to
Federal and State Agencies (May 4, 2011), https://www.justice.gov/opa/pr/ubs-ag-admits-
anticompetitive-conduct-former-employees-municipal-bond-investments-market-and.
   6
        See Non-Prosecution Agreement letter In re UBS AG, DOJ, (May 4, 2011),
https://www.justice.gov/atr/file/761041/download.
   7
       See Press Release, DOJ (July 7, 2011), https://www.justice.gov/opa/pr/jpmorgan-chase-
admits-anticompetitive-conduct-former-employees-municipal-bond-investments.
   8
        See Letter from Christine A. Varney, DOJ, to Thomas Mueller (July 6, 2011),
https://www.justice.gov/sites/default/files/atr/legacy/2011/07/07/272815a.pdf.


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                                       ii.     LIBOR Market

        273.   On December 19, 2012, the DOJ announced that Defendant UBS AG, as part of a

non-prosecution agreement, had agreed to pay $1.5 billion in fines for manipulating LIBOR

rates. According to the DOJ’s press release, “By causing UBS and other financial institutions to

spread false and misleading information about LIBOR, the alleged conspirators we’ve charged—

along with others at UBS—manipulated the benchmark interest rate upon which many

transactions and consumer financial products are based.”9 Other banks ensnared by this

investigation included The Royal Bank of Scotland, Rabobank, Deutsche Bank, and Barclays,

among others.10

                                      iii.    FX Spot Market

        274.   Beginning in 2013, media reports surfaced that governmental regulators and

enforcement authorities in the U.S. and Europe were investigating potential manipulation of the

foreign exchange (“FX”) market. Those investigations quickly grew in scope to include

authorities from across the globe, and have already resulted in criminal guilty pleas, settlements,

and fines totaling over $11 billion, as well as the release of orders, notices, and reports detailing

exactly how the banks colluded to manipulate the FX market.

        275.    On May 20, 2015, the DOJ announced that Defendants JP Morgan and UBS,

along with Barclays, Citi, and RBS, were fined a total of $3 billion by the DOJ, and each pled




   9
       See Press Release, DOJ (Dec. 19, 2012), https://www.justice.gov/opa/pr/ubs- securities-
japan-co-ltd-plead-guilty-felony-wire-fraud-long-running-manipulation-libor.
   10
       See Financial Institution Fraud, Criminal Division, DOJ, https://www.justice.gov/
criminal-fraud/financial-institution-fraud.


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guilty to criminal conspiracy charges for manipulating FX prices and benchmark rates. 11 The

DOJ has since brought criminal charges against individual employees and former employees of

the banks for their role in manipulating the FX market, including a former Managing Director at

JP Morgan.12 Also in May 2015, the Federal Reserve imposed more than $1.8 billion in fines on

Defendants Bank of America, JP Morgan, UBS, plus Barclays, Citi, and RBS, for their “unsafe

and unsound practices in the foreign exchange markets,”13 and the New York Department of

Financial Services fined Barclays over $400 million for conspiring with other banks, including

JP Morgan, to manipulate FX prices.14

        276.   These settlements followed a wave of Orders from November 2014, where the

U.S. Commodity Futures Trading Commission (“CFTC”)15 and U.K. Financial Conduct




   11
       See Press Release, DOJ, Five Major Banks Agree to Parent-Level Guilty Pleas (May 20,
2015), https://www.justice.gov/opa/pr/five-major-banks-agree-parent-level-guilty-pleas; see also
2015 Enforcement Actions, CFTC, http://www.cftc.gov/LawRegulation/Enforcement/
EnforcementActions/ 2015EnforcementActions/index.htm.
   12
       See Press Release, DOJ, Three Former Traders for Major Banks Indicted in Foreign
Currency Exchange Antitrust Conspiracy (Jan. 10, 2017), https://www.justice.gov/opa/pr/three-
former-traders-major-banks-indicted-foreign-currency-exchange-antitrust-conspiracy.
   13
        See Press Release, Federal Reserve, Federal Reserve announces fines totaling more than
$1.8 billion against six major banking organizations for their unsafe and unsound practices in
the foreign exchange (FX) markets (May 20, 2015),
https://www.federalreserve.gov/newsevents/press/enforcement /20150520a.htm.
   14
        See Consent Order, ¶ 44, In the Matter of Barclays Bank PLC (Nov. 17, 2015),
http://www.dfs.ny.gov/about/ea/ea151117.pdf.
   15
        See Press Release, CFTC, CFTC Orders Five Banks to Pay over $1.4 Billion in Penalties
for Attempted Manipulation of Foreign Exchange Benchmark Rates (Nov. 12, 2014),
http://www.cftc.gov/PressRoom/PressReleases/pr7056-14.


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Authority16 imposed over $1.9 billion in fines on JP Morgan, UBS, Citi, HSBC and RBS for

manipulating the FX market, the Office of the Comptroller of the Currency fined Bank of

America, JP Morgan, and Citi another $950 million,17 and the Swiss Financial Market

Supervisory Authority fined UBS $141 million for “manipulation, collusion, and other market

abusive conduct.”18

        277.   Other global regulators that have investigated the banks’ manipulation of the FX

market include the Brazilian Council for Economic Defense, which imposed fines on JP Morgan

and several other banks,19 the South African Competition Commission, which found that Bank of

America, Credit Suisse, JP Morgan, and several other banks had a “general agreement to




   16
        See Press Release, U.K. Financial Conduct Authority, FCA fines five banks 1.1 billion for
FX failings and announces industry-wide remediation program (Nov. 12, 2014),
http://www.fca.org.uk/news/fca-fines-five-banks-for-fx-failings.
   17
      See Press Release, OCC, OCC Fines Three Banks $950 Million for FX Trading
Improprieties (Nov. 12, 2014), http://www.occ.gov/news-issuances/news-releases/2014/nr-occ-
2014-157.html.
   18
       See Press Release, The Swiss Financial Market Supervisory Authority, FINMA sanctions
foreign exchange manipulation at UBS (Nov. 12, 2014), https://www.finma.ch/
en/news/2014/11/mm-ubs-devisenhandel-20141112.
   19
        See Noticias, Administrative Council for Economic Defense, Brazil, CADE signs five
agreements regarding a cartel investigation in the foreign exchange market and opens a new
cart investigation in the Brazilian exchange market (Dec. 9, 2016), http://en.cade.gov.br/cade-
signs-five-agreements-regarding-a-cartel-investigation-in-the-foreign-exchange-market-and-
opens-a-new-cartel-investigation-in-the-brazilian-exchange-market.


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collude,”20 the Australia Securities and Investment Commission,21 and the Korea Fair Trade

Commission.22 Many of the governmental investigations of FX manipulation remain ongoing,

including major inquiries by the European Commission.23

        278.   The governmental settlements lay out the details of how the banks colluded to

manipulate FX prices to their benefit. For instance, the CFTC found that Defendants JP Morgan

and UBS, along with Citi, HSBC, and RBS, “used private electronic chat rooms to communicate

and plan their attempts to manipulate the Forex benchmark prices.”24 Traders used those inter-

bank chat rooms to “coordinate[] their trading with certain FX traders at other banks to attempt

to manipulate certain FX benchmark rates,” and to “disclose[] confidential customer order

information and trading positions, alter[] trading positions to accommodate the interests of the

collective group, and agree[] on trading strategies as part of an effort by the group to attempt to

manipulate certain FX benchmark rates.” Those exclusive chatrooms were often given colorful




   20
       See Media Statement, Competition Commission, South Africa, Competition Commission
prosecutes banks (currency traders) for collusion (Feb. 15, 2017), http://www.
compcom.co.za/wp-content/uploads/2017/01/Competition-Commission-prosecutes-banks-
currency-traders-for-collusion-15-Feb-2016.pdf.
   21
        See Georgia Wilkins, ASIC launches investigation into foreign exchange benchmarks, THE
SYDNEY MORNING HERALD (Mar. 21, 2014), http://www.smh.com.au/business/asic-launches-
investigation-into-foreign-exchange-benchmarks-20140320-355wo.html.
   22
      See South Korea fines Deutsche Bank, BNP Paribas $157,000 over FX forwards rigging,
REUTERS, (May 16, 2017), http://www.reuters.com/article/us-southkorea-antitrust-
idUSKCN18C06G.
   23
        See Gaspard Sebag and Stephanie Bodoni, FX Probe Said to Emerge From Shadows as EU
Seeks Bank Data, Bloomberg (June 3, 2016), https://www.bloomberg.com/news/articles/ 2016-06-
03/currency-probe-said-to-emerge-from-shadows-as-eu-seeks-bank-data.
   24
       See, e.g., Order Instituting Proceedings, In the Matter of JPMorgan Chase Bank, N.A., CFTC
Dkt. No. 15-04 (Nov. 11, 2014).

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names like “The Cartel,” “The Mafia,” “The Club,” “The Bandits’ Club,” “The Dream Team,”

“One Team, One Dream,” and “The Sterling Lads.”

                                           iv.     ISDAfix

        279.    Numerous Defendants have also paid substantial sums to government regulators,

private plaintiffs, or both to settle claims that they exploited their position on a panel of banks to

manipulated the widely-used financial benchmark known as ISDAfix in violation of antitrust and

anti-manipulation laws.

        280.    Defendants Bank of America, Credit Suisse, Goldman Sachs, JP Morgan, and

UBS have collectively paid over $222 million to settle private antitrust and common laws claims

concerning these banks’ collusive manipulation of the ISDAfix benchmark at the expense of

their counterparties and clients. Goldman Sachs has paid an additional $120 million to settle

proceedings initiated by the CFTC for conduct the Commission described at times as

“particularly brazen”25 and always designed to move the benchmark “in the direction that was

best for Goldman at the expense of its counterparties and clients.”26

        281.    Numerous of Goldman Sachs’ horizontal competitors also paid hefty settlement

sums to the CFTC for their manipulation of ISDAfix.27 Numerous investigations into ISDAfix

manipulation by various governmental bodies remain ongoing. Highlighting the seriousness of




   25
      See In re The Goldman Sachs Group, Inc., and Goldman, Sachs & Co., CFTC No. 17-03,
2016 WL 7429257, at *8 (Dec. 21, 2016).
   26
        Id. at *7.
   27
       See In re Barclays PLC, Barclays Bank PLC, and Barclays Capital Inc., CFTC No. 15-25,
2015 WL 2445060 (May 20, 2015); In re Citibank, N.A., CFTC No. 16-16, 2016 WL 3035030 (May
25, 2016); In re The Royal Bank of Scotland plc, CFTC No. 17-08, 2017 WL 511925 (Feb. 3, 2017).


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the misconduct of the ISDAfix panel banks, these investigations reportedly involve a criminal

dimension.28

        282.   Defendants’ misconduct related to ISDAfix was undertaken, like that described

above, to line their own pockets at the expense of investors, providing another illustration of a

lack of internal controls and a culture where the bottom line was used to justify serious misdeeds.

                                   v.      Credit Default Swaps

        283.   In the Credit Default Swaps (“CDS”) litigation,29 Defendants Bank of America,

Credit Suisse, Goldman Sachs, J.P. Morgan & Chase, Morgan Stanley, and UBS, together with

several entities not named as defendants in this action, were accused of participating in a

remarkably similar conspiracy to the one alleged here.

        284.   In the CDS litigation, plaintiffs alleged that the defendants—who dominated the

over-the-counter CDS market and took advantage of its inefficiencies to reap supracompetitive

profits from bid/ask spreads—were threatened by the development of electronic exchanges and

clearinghouses for CDS transactions. These electronic trading platforms threatened to introduce

price transparency and other efficiencies that would have eliminated the CDS defendants’ ability

to charge artificially inflated bid/ask spreads. In response, the CDS defendants (most of which

are named as Defendants here) allegedly conspired to squash this threat by agreeing in secret

meetings to, among other things, boycott the use of these new trading platforms. As a result,




   28
        See Matthew Leising & Tom Schoenberg, CFTC Said to Alert Justice Department of
Criminal Rate Rigging, BLOOMBERG (Sept. 9, 2014), https://www.bloomberg.com/news/articles/
2014-09-08/cftc-said-to-alert-justice-department-of-criminal-rate-rigging-i2z7ngfn. Indeed, at his
deposition in the private civil case, the head of Deutsche Bank’s swaps desk from 2007 to 2012
invoked his Fifth Amendment right to avoid self-incrimination in response to questions about his
desk’s ISDAfix practices.
   29
        In re Credit Default Swaps Antitrust Litigation, No. 13-md-2476 (DLC) (S.D.N.Y.).

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according to the CDS plaintiffs, the defendants were successful in blocking the natural evolution

of the CDS market from an inefficient, over-the-counter market to a more efficient, exchange-

traded market, resulting in significant damages to those market participants who were forced to

continue paying grossly inflated bid/ask spreads.

        285.    The defendants in the CDS litigation ultimately agreed to pay over $1.86 billion

to settle those claims.

VIII. THE USE OF EQUILEND AS A VEHICLE FOR ILLEGAL CONDUCT
      TRIGGERS SPECIAL SCRUTINY

        286.    As previously described, Defendants routinely used their positions on the

EquiLend board to co-opt EquiLend as a vehicle through which to promote and achieve their

anticompetitive objectives. In doing so, EquiLend was not acting as a legitimate market

participant according to its own economic best interests as an independent competitive venture.

Instead, it was used in illegitimate, non-competitive ways and took actions that in many cases did

not further its own economic interests.

        287.    Nowhere is this better demonstrated than in EquiLend’s response to SL-x’s offer

to purchase it in September of 2011. Had EquiLend been acting as an ordinary profit-

maximizing entity, it would have at least engaged in discussions concerning a potential

acquisition price that would have yielded an immediate and generous return to its shareholders.

        288.    Instead, EquiLend swiftly rejected acquisition by SL-x at any price. This failure

to even bargain demonstrates that EquiLend’s true value to Defendants was not in its ability to

generate profits, but rather as a forum by which to exercise improper control over the stock

lending industry.

        289.    EquiLend Holdings LLC was formed in 2001, for the ostensible purpose of

“optimiz[ing] efficiency in the securities finance industry by developing a standardized and

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centralized global platform for trading and post-trade services.”30 As described above, EquiLend

mainly provides post-trade services to Broker-Dealers and Agent Lenders, such as reconciliation,

contract comparison, mark-to-market comparison, billing comparison, billing delivery, recalls,

and returns.

        290.   In addition, EquiLend offers a “bulletin board” service for Agent Lenders to post

available inventory. This bulletin board is supplemented by a crude matching tool called

AutoBorrow. Each trading day, AutoBorrow contacts broker-dealer subscribers in a one-by-one,

sequential order, with a basket of every general collateral stock that agent lenders are currently

offering. Each broker-dealer in the queue, in turn, decides how much stock loan quantity they

wish to borrow, and that quantity is then executed. There is no negotiation and no bidding about

prices, which are arbitrarily set by Agent Lenders. Because of this, AutoBorrow facilitates only

a small fraction of stock lending transactions and is next to useless for filling hard to find

securities orders.

        291.   In contrast to SL-x’s product, EquiLend has never offered fully electronic, price

transparent trading capabilities or the ability to negotiate terms with multiple potential

counterparties simultaneously. Nor does it offer central clearing to market end users. Even

board members and former board members of EquiLend often complain about its ineffective

matching function and limited functionality.

        292.   The original investing firms in EquiLend were Barclays Global Investors, Bear,

Stearns & Co., The Goldman Sachs Group Inc., J.P. Morgan Chase & Co., Lehman Brothers

Holdings Inc., Merrill Lynch & Co., Morgan Stanley, Northern Trust Corp., State Street Corp.,

and UBS Warburg—each of which committed $4 million to the newly formed enterprise.


   30
        See About Us, EQUILEND, at http://www.EquiLend.com/about/

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During the relevant period, the ten owners of EquiLend included Defendants: Bank of America

(formerly Merrill Lynch), Credit Suisse,31 Goldman Sachs, JP Morgan, Morgan Stanley, and

UBS.

        293.     Since EquiLend’s inception, Defendants have dominated and controlled EquiLend

through its Boards of Directors. Those board members of EquiLend Holdings LLC (EquiLend’s

USA entity) during the relevant period who were also employees of Non-EquiLend Defendants

include:

        Entity               Employees                 Entity             Employees

 Bank of America Robert Genkinger,         JP Morgan               William Marcoullier, New
                 Managing Director, Equity                         York Desk Head;
                 Finance Sales & Trading
                                                                   Michael Kelleher,
                                                                   Managing Director, Equity
                                                                   Finance;

                                                                   Ben Challice, Managing
                                                                   Director, Global Head of
                                                                   Collateral Management &
                                                                   Agency Lending;

                                                                   Stefano Bellani; Managing
                                                                   Director, Global Head of
                                                                   Trading Services;

                                                                  Judy Polzer, Global Head
                                                                  of Securities Lending
                                                                  Product
 Credit Suisse        Fred Nadd-Aubert,            Morgan Stanley Anthony Schiavo, Vice
                      Director, Prime Services                    Chair, Managing Director
                      & Strategic Product
                      Development;

                      Gene Gemelli, Director,
                      Prime Services, Strategic
                      Product Development


   31
        Credit Suisse became a co-owner of EquiLend in 2005.

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      Entity                  Employees                 Entity                Employees

 Goldman Sachs        Shawn Byron, Managing        UBS                Brendan Cusick, Managing
                      Director                                        Director

                      William Conley, Head of
                      Global Securities Lending

       294.      For EquiLend Europe Ltd., board members who were also employees of the

Defendants include:

      Entity                  Employees                 Entity                Employees

 Bank of America Rajeev Patel, Global Head         JP Morgan          John Shellard, Managing
                 of Securities Lending and                            Director;
                 Head of EMEA Equity
                 Finance                                              Jonathan Cossey,
                                                                      Managing Director, Head
                                                                      of Equity Finance;

                                                                  Edward McAleer,
                                                                  Managing Director
 Credit Suisse        Karl Bishti, European        Morgan Stanley Matt Collins, Executive
                      Prime Brokerage Desk                        Director, Head of European
                      Head;                                       Securities Lending

                      Ralph Lehnis, Managing
                      Director, Credit Suisse
 Goldman Sachs        Martin Cosgrove,             UBS                James Buckland, Global
                      Managing Director;                              Head of Stock Borrow &
                                                                      Lending
                      Michael Slomienski, Vice
                      President

       295.      EquiLend is nominally organized as a joint venture, but this does not shield it—or

Defendants—from the antitrust laws. The reason is that EquiLend does not act in its own

economic interests as an independent, rational market participant by improving its products and

services so as to meet customer demand and generate increased revenue for the company.

Instead, EquiLend has been used by Defendants as a centralized forum for collusion and the

advancement of their particular anticompetitive interests in the stock loan market.

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       296.    The cover story that EquiLend is a legitimate, for-profit business enterprise is

belied by the actions taken, and not taken, by EquiLend and its member banks. Defendants used

EquiLend to: (i) suppress price transparency by refusing to release pricing data to its customers,

despite having access to this data and despite a clear market demand for such data; (ii) force

competitors out of the market by coercing their customers to use EquiLend and/or DataLend,

even though EquiLend and DataLend offered lower quality or entirely different services than

what their customers desired and what prospective competitors offered; and (iii) stymie

procompetitive market developments by purchasing valuable patents and trading platform

technology from SL-x and others, and then refusing to use or capitalize on those assets in any

way, despite the fact that such patents and platform technology were essential for market

developments that were in high demand and could have brought extra revenue into the company.

       297.    EquiLend’s role as a vehicle of collusion is illustrated by the way its board

members steadfastly ignored the distinction between their prime brokerage businesses and their

supposedly independent “joint venture.” Goldman Sachs’ Conley talked about starting DataLend

to ensure wholesale prices would not “kill our business”— meaning the Broker-Dealer

Defendants’ stock lending business. Similarly, as SL-x made the rounds of the Defendants in an

effort to sell the platform, at every turn they were told that the EquiLend directors had decided

that any evolution toward central clearing would happen only through EquiLend—meaning,

through a vehicle that the Defendants controlled. In meeting after meeting, the Defendants made

clear that they considered themselves bound by understandings reached in EquiLend board

meetings.

       298.    If EquiLend had truly behaved as a profit-maximizing firm, it would naturally

have sought to contribute to the competitive evolution of the stock loan market by promoting



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trading efficiency through a centrally-cleared electronic marketplace and selling clients

transparent access to its market data. EquiLend would also have capitalized on the technology

that it purchased from SL-x and AQS by further developing that technology for its own use or

licensing to third parties.

        299.    Instead, EquiLend remains a Potemkin village for Defendants’ collusive and

anticompetitive behaviors. The firm offers just enough operational efficiency to be relevant

through its bilateral trading platform and the provision of certain administrative and back-office

services. Yet it carefully avoids (and takes active steps to thwart others from engaging in) any

activity that would threaten the Defendants’ position as dominant market intermediaries.

        300.    Even ignoring the actions EquiLend failed to take that would have modernized the

market, the actions it did take were not those of an independent enterprise. If EquiLend was

content to act as an industry utility, leaving innovation to other firms, it is unclear why it chose to

purchase revolutionary matching and trading technology from two different firms, only to do

nothing with it. If EquiLend was content with its position as a bilateral trading platform and

trade processing service, it is unclear what moved it to introduce a subpar data product at

unbelievably low prices, at just the right time to kill a product that threatened to expose the stock

lending market to full price transparency. That EquiLend was able to do so shows only that it

was an effective tool of Defendants’ conspiracy, because it was capable of quickly shifting the

direction of the development of the stock lending market.

        301.    The actions taken by the Defendants through EquiLend amounted to naked

restrictions on competition and output. They were intended to, and did, reduce the volume and

quality of stock lending overall, and the amount and quality of pricing data distributed by

EquiLend and available to market participants, to the detriment of all market participants except



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for Defendants. Defendants’ restrictions on EquiLend’s development and services were not

necessary for or related to any procompetitive actions by EquiLend. In fact, they ran directly

contrary to EquiLend’s stated purpose of “optimiz[ing] efficiency in the securities finance

industry.”

        302.   In short, EquiLend is not the independent joint venture that it purports to be.

Instead, it is an empty shell for collusion. EquiLend’s actions should thus be viewed as illegal

concerted activity by Defendants that is subject to Section 1 of the Sherman Act.32

        303.   Such collaborations among horizontal competitors, regardless of whether they are

organized as a joint venture, pose a high risk of anticompetitive harm. As the Antitrust

Guidelines for Collaborations Among Competitors issued by the Federal Trade Commission and

Department of Justice explain:

        Competitor collaborations may harm competition and consumers by
        increasing the ability or incentive profitably to raise price above or
        reduce output, quality, service, or innovation below what likely would
        prevail in the absence of the relevant agreement. Such effects may arise
        through a variety of mechanisms. Among other things, agreements may
        limit independent decision making or combine the control of or financial
        interests in production, key assets, or decisions regarding price, output,
        or other competitively sensitive variables, or may otherwise reduce the
        participants’ ability or incentive to compete independently.33

   32
        See, e.g., Am. Needle, Inc. v. Nat’l Football League, 560 U.S. 183, 200 (2010)
(explaining that a joint venture that is nothing more than a “formalistic shell for ongoing
concerted action” is subject to Section 1 liability); United States v. Topco Associates, Inc., 405
U.S. 596 (1972) (cooperative association made of up grocery stores liable for per se illegal
conduct under § 1); United States v. Sealy, Inc., 388 U.S. 350 (1967) (group of mattress
manufacturers could not escape per se § 1 liability by operating through a single corporation that
they jointly controlled); see also Fed. Trade Comm’n & U.S. Dep’t of Justice, Antitrust
Guidelines for Collaborations Among Competitors 9 (2000) (“Antitrust Guidelines”) (“In any
case, labeling an arrangement a ‘joint venture; will not protect what is merely a device to raise
price or restrict output; the nature of the conduct, not its designation, is determinative.”).
   33
      Antitrust Guidelines at 6 (emphasis added); see also id. at 12 (“Anticompetitive harm
may be observed, for example, if a competitor collaboration successfully mandates new,


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           304.   That risk is particularly acute here because the Defendants already possess

substantial market power (over 70% of the market) and new market developments thus threaten

only to “cannibalize their supracompetitive earnings.”34 Because Defendants already control

much of the stock lending market and profit greatly from its opaque structure, they have no

incentive to foster innovation, launch new products or services, or improve the quality of existing

products or services. Instead, Defendants have the exact opposite incentive—to preserve the

antiquated OTC stock-lending market at all costs, including by working together to stifle

procompetitive developments that risk their disintermediation. The adoption of consortium

strategies in such markets carries no positive benefits and only “increase[s] the likelihood of an

exercise of market power by facilitating explicit or tacit collusion,” as occurred here.35

IX.        EQUITABLE TOLLING OF THE STATUTE OF LIMITATIONS

           305.   Defendants’ conspiracy was conducted in secret, since that is the only way it

could have prospered. Defendants also affirmatively concealed their anticompetitive conduct



anticompetitive conduct or successfully eliminates procompetitive pre-collaboration conduct,
such as withholding services that were desired by consumers when offered in a competitive
market.”).
      34
        Antitrust Guidelines at 15; see also id. (“An exercise of market power may injure
consumers by reducing innovation below the level that otherwise would prevail, leading to fewer
or no products for consumers to choose from, lower quality products, or products that reach
consumers more slowly than they otherwise would. An exercise of market power also may injure
consumers by reducing the number of independent competitors in the market for the goods,
services, or production processes derived from the R&D collaboration, leading to higher prices
or reduced output, quality, or service.”).
      35
        Antitrust Guidelines at 12. Wall Street banks have pursued similar collusive strategies in
other markets. One recent study, for example, found “more than 400 instances of large banks
involved in at least 63 separate illegal conspiracies.” See John M. Connor, Big Bad Banks: Big
Rigging and Multilateral Market Manipulation, American Antitrust Institute Working Paper No.
14-04 (May 5, 2014), https://www.antitrustinstitute.org/sites/default/ files/WorkingPaper14-
04.pdf.

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from SL-x since the inception of Defendants’ conspiracy. As a result, SL-x did not previously

discover, nor could it have discovered through the exercise of reasonable due diligence facts

comprising its claims, including facts concerning the nature of the injuries alleged above; facts

concerning to whose conduct their injuries were attributable; facts concerning when such injuries

occurred; and facts concerning the intent, formation, and execution of Defendants’ conspiracy.

         306.   Defendants’ wrongful conduct was carried out, at least in part, through means and

methods specifically designed to avoid detection and which, until very recently, successfully

eluded detection. In particular, Defendants participated in secret meetings and communications

whereby they agreed upon the course of anticompetitive conduct described in this Complaint.

These included private meetings of the EquiLend board, which are not open to the public, as well

as one-on-one meetings between Defendants’ senior executives. SL-x was not present at and had

no way to attend or access the proceedings of these secret meetings, and had no way of accessing

Defendants’ other relevant communications. Defendants also concealed their actions through the

use of secret names and code words like “Project Gateway” for their conspiratorial conduct.

         307.   SL-x had no reason contemporaneously to know or suspect that these meetings

were being used to plan and execute a conspiracy to stifle and boycott innovation. Indeed, the

significant and substantial efforts and investments of AQS and Data Explorers along with the

financial and other backing of market participants would not have been rational if Defendants’

conspiracy had been known. That financial resources were prioritized for these other initiatives

by savvy market participants belies any suggestion that Defendants’ actions were generally

known.

         308.   Indeed, Defendants publicly misrepresented to SL-x, along with their customers,

potential vendors, and the general public their support for a trading platform that could centrally



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clear securities lending transactions. Through those false statements, Defendants actively misled

SL-x as to the true, collusive, and coordinated nature of their actions. Defendants made these

false statements with the purpose and effect of concealing their conspiracy to preserve the

opaque OTC market that enabled them to charge supracompetitive spreads for intermediating

securities lending transactions.

       309.    For example, EquiLend states on its web site that: “In 2000, a group of 10 global

financial institutions joined together, looking for ways to optimize efficiency in the securities

finance industry by developing a standardized and centralized global platform for trading and

post-trade services. EquiLend Holdings LLC was formed in 2001, and the platform went live in

2002.” But as discussed throughout this Complaint, Defendants used EquiLend to achieve the

exact opposite ends—i.e., preventing the opaque, OTC securities lending market from evolving

into a more efficient, centrally cleared electronic platform with improved price transparency.

       310.    Defendants’ market power and willingness to use it to silence, punish, and

exclude those who dared to cross them is one important reason why their conspiracy was able to

operate under the radar until recently. As noted above, Defendants wielded their considerable

clout to bully and threaten even large, established entities in the stock loan market. Defendants’

threats—and the power behind them—kept those to whom they were directed quiet about the

conspiracy they furthered. Those who were targeted feared incurring the wrath of those

Defendants on whose services and relationship they depended if they did anything that would

inform the market about the strategies to quash emerging market innovation.

       311.    The foregoing allegations constitute a continuing violation of the antitrust laws,

including misconduct and recurring injuries within the limitations period. Accordingly, SL-x can




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recover for damages suffered throughout the limitations period, even absent a finding of

equitable tolling or fraudulent concealment.

VIII. PENDING LITIGATION WITH SL-X IP S.Á.R.L.

       312.    On November 1, 2018, non-party SL-x IP S.á.r.l. filed a complaint against

Defendants containing substantially identical allegations to those alleged here. That case is

captioned SL-x IP S.á.r.l. v. Bank of America Corporation et al., Case No. 18 Civ. 10179 (RJS)

(S.D.N.Y.) (the “November Action”).

       313.    In the November Action, SL-x IP S.á.r.l. contended that it had standing to

advance the claims presented here as the successor in interest to each of the Plaintiffs.

       314.    In briefing a motion to dismiss filed December 21, 2018 in connection with the

November Action, Defendants claimed that SL-x IP S.á.r.l. did not have standing to advance its

claims and that those claims properly belonged to Plaintiffs.

       315.    Plaintiffs bring this action to preserve their right to recover against Defendants

should they be deemed the proper parties to vindicate their rights and punish Defendants’ illegal

antitrust conspiracy.

       316.    To the fullest extent possible, this complaint and/or the allegations in this

complaint shall relate back to the date the Complaint was filed in the November Action or such

earlier time as appropriate.

                                     CAUSES OF ACTION

                                          COUNT ONE
                               CONSPIRACY TO RESTRAIN TRADE
                                      15 U.S.C. §§ 1, 15, 26
                                     (against all Defendants)

       317.    Plaintiffs re-allege and incorporate by reference each and every allegation in each

and every preceding paragraph as if fully set forth herein.

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        318.    As alleged above, Defendants and their co-conspirators entered into and engaged

in a horizontal contract, combination, or conspiracy in restraint of trade to restrict competition in

the stock loan market and to jointly boycott SL-x in the United States in violation of Section 1 of

the Sherman Act, 15 U.S.C. § 1. Such contract, combination, or conspiracy constitutes a naked,

per se violation of the federal antitrust laws and is, moreover, an unreasonable and unlawful

restraint of trade that lacks any countervailing procompetitive rationale.

        319.    Defendants and their co-conspirators’ contract, combination, agreement,

understanding, or concerted action was without procompetitive justification and occurred within

the flow of, and substantially affected, interstate commerce.

        320.    Defendants’ conduct in boycotting SL-x cannot be plausibly justified as being

intended to enhance overall market efficiency. Indeed, Defendants failure to use SL-x

technology (or a reasonable substitute) leads to slower execution of stock loan transactions and

higher rates of failure.

        321.    Stock loan transactions are, and are widely perceived by those in the industry to

be, a unique financial product. The market for stock loan in the United States is treated as a

distinct financial market by market participants, government actors, and in economic literature.

        322.    Other products are not substitutable for stock loan. Taking “short” positions on

equity securities that an investor does not already own requires that the investor first borrow the

security in the stock loan market.

        323.    The relevant geographic market is the United States. The Defendants, however,

dominate more broadly defined geographic markets as well, including the global market.

        324.    As a direct and proximate result of Defendants’ scheme and concrete acts

undertaken in furtherance thereof, Plaintiffs has been injured and financially damaged in its



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business and property, in amounts that are presently undetermined. Plaintiffs’ damages are

directly attributable to Defendants’ conduct, which made it impossible for Defendant to

successfully launch its product in the United States. Plaintiffs’ injuries are of the type the

antitrust laws were designed to prevent, and flow from that which makes Defendants’ conduct

unlawful.

                                      COUNT TWO
                            CONSPIRACY TO RESTRAIN TRADE
                                 N.Y. Gen. Bus. Law § 340
                                  (against all Defendants)

        325.    Plaintiffs re-allege and incorporate by reference each and every allegation in each

and every preceding paragraph as if fully set forth herein.

        326.    As alleged above, Defendants and their co-conspirators entered into and engaged

in a horizontal contract, combination, or conspiracy in restraint of trade to restrict competition in

the stock loan market and to jointly boycott SL-x in the United States in violation Section 340 of

the Donnelly Act, N.Y. Gen. Bus. Law § 340. Such contract, combination, or conspiracy

constitutes a naked, per se violation of the Donnelly Act and is, moreover, an unreasonable and

unlawful restraint of trade that lacks any countervailing procompetitive rationale.

        327.    Defendants and their co-conspirators’ contract, combination, agreement,

understanding, or concerted action was without procompetitive justification.

        328.    Defendants’ conduct in boycotting SL-x cannot be plausibly justified as being

intended to enhance overall market efficiency. Indeed, Defendants failure to use SL-x

technology (or a reasonable substitute) leads to slower execution of stock loan transactions and

higher rates of failure.




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       329.    Stock loan transactions are, and are widely perceived by those in the industry to

be, a unique financial product. The market for stock loan in the United States is treated as a

distinct financial market by market participants, government actors, and in economic literature.

       330.    Other products are not substitutable for stock loan. Taking “short” positions on

equity securities that an investor does not already own requires that the investor first borrow the

security in the stock loan market.

       331.    The relevant geographic market is the United States. The Defendants, however,

dominate more broadly defined geographic markets as well, including the global market.

       332.    As a direct and proximate result of Defendants’ scheme and concrete acts

undertaken in furtherance thereof, Plaintiffs have been injured and financially damaged in their

business and property, in amounts that are presently undetermined. Plaintiffs’ damages are

directly attributable to Defendants’ conduct, which made it impossible for Plaintiffs to

successfully launch their product in the United States. Plaintiffs’ injuries are of the type the

antitrust laws were designed to prevent, and flow from that which makes Defendants’ conduct

unlawful.

                                       COUNT THREE
                                 TORTIOUS INTERFERENCE
                                    (against all Defendants)

       333.    Plaintiffs re-allege and incorporate by reference each and every allegation in each

and every preceding paragraph as if fully set forth herein.

       334.    Defendants were aware that Plaintiffs had prospective business relations with

third parties, including but not limited to Northern Trust, BNY Mellon, and State Street, all of

which were potential users of SL-x’s software.

       335.    By their wrongful acts as alleged herein, Defendants injured prospective business



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relations with those potential customers.

       336.    Defendants acted with the sole purpose of harming Plaintiffs.

       337.    Defendants used dishonest, unfair, or improper means to interfere with Plaintiffs’

prospective business relations.

       338.    Plaintiffs were damaged by reason of Defendants’ conduct.

                                         COUNT FOUR
                                    UNJUST ENRICHMENT
                                     (against all Defendants)

       339.    Plaintiffs re-allege and incorporate by reference each and every allegation in each

and every preceding paragraph as if fully set forth herein.

       340.    By their wrongful acts as alleged herein, Defendants have been unjustly enriched

at the expense of Plaintiffs by, among other things, continuing to enjoy wider bid/ask spreads in

the stock lending market, and engaging in an illegal conspiracy to undermine SL-x and divert

any potential pecuniary benefits from its platform to themselves through unfair and

anticompetitive trade practices.

       341.    Based on equity and good conscience, restitution is required.

                                      COUNT FIVE
                              DECEPTIVE TRADE PRACTICES
                                 N.Y. Gen. Bus. Law § 349
                                  (against all Defendants)

       342.    Plaintiffs re-allege and incorporate by reference each and every allegation in each

and every preceding paragraph as if fully set forth herein.

       343.    The New York Deceptive Practices Act, Gen. Bus. Law § 349, declares unlawful

any deceptive acts or practices in the conduct of any business, trade, or commerce, or in the

furnishing of any service in this state, whether or not subject to any other law of this state, and




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allows any person who has been injured by reason of any violation of that statute to bring a

private action.

        344.      As alleged above, Defendants and their co-conspirators entered into and engaged

in a contract, combination, or conspiracy in restraint of trade to allocate the stock lending market

between themselves, and jointly boycott SL-x and other entities that would introduce

competition on stock loan rates in the United States. Such conduct was misleading, deceptive,

and unlawful.

        345.      Defendants’ improper conduct had a broad application on consumers generally

throughout the United States and abroad by undermining competition in the stock lending market

and preventing all-to-all stock lending.

        346.      As a result of Defendants’ combination, conspiracy, and arrangements in violation

of the New York Deceptive Practices Act, Gen. Bus. Law § 349, Plaintiffs are entitled to recover

its actual damages, plus punitive damages and reasonable attorneys’ fees.

                                       PRAYER FOR RELIEF

        WHEREFORE the Plaintiffs pray that this Court:

        A.        Award nominal, compensatory, treble, and punitive damages to Plaintiffs in an

amount to be determined at trial;

        B.        Award litigation costs and expenses to Plaintiffs, including, but not limited to,

reasonable attorneys’ fees;

        C.        Award pre-judgment and post-judgment interest for damages suffered by

Plaintiffs.

        D.        Award any additional and further relief as this Court may deem just and proper.




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                                     JURY DEMAND

    Plaintiffs demand a trial by jury on all issues so triable

DATED:     New York, New York
           May 24, 2019


                                   By:
                                           Rishi Bhandari

                                           MANDEL BHANDARI LLP
                                           Rishi Bhandari
                                           Robert Glunt
                                           80 Pine Street, 33rd Floor
                                           New York, NY 10005
                                           T: (212) 269-5600
                                           F: (646) 964-6667
                                           glunt@mandelbhandari.com

                                           Attorneys for Plaintiffs




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